Case 2:20-cv-07036-SVW-AGR Document 1-1 Filed 08/05/20 Page 1 of 55 Page ID #:6




                    EXHIBIT 1
Electronically FILED by Superior Court of California, County of Los Angeles on 04/27/2020 12:00 AM Sherri R. Carter, Executive Officer/Clerk of Court, by C. Monroe,Deputy Clerk
                  Case 2:20-cv-07036-SVW-AGR Document  1-1 Filed 08/05/20 Page 2 of 55 Page ID #:7
                                                  20STCV15924
                                        Assigned for all purposes to: Stanley Mosk Courthouse, Judicial Officer: Robert Draper




                        1       Raymond N. Haynes, Jr
                                Attorney at Law
                        2       SBN: 93852
                                9060 Grove Street
                        3       Elk Grove, CA 95624
                        4
                                ATTORNEYS FOR CALPRO,
                        5       ANTON KARRAA, RABADI SERVICE
                                STATION, INC., J. KEITH STEPHENS, AND
                        6       VIRTUAL MEDIA GROUP, INC.
                        7

                        8                           SUPERIOR COURT OF THE STATE OF CALIFORNIA
                        9                                                     COUNTY OF LOS ANGELES
                      10

                      11                                            )                                        COMPLAINT FOR:
                                                                    )
                      12        ANTON KARRAA, RABADI                )                                        1. DEPRIVATION OF CIVIL
                                SERVICE STATION, INC.               )                                        RIGHTS - FIRST AMENDMENT
                      13        CALPRO, an Unincorporated           )                                        [42 USC 1983];
                                Association of Residents, Property  )
                      14        Owners and Taxpayers of the City of )                                        2. DEPRIVATION OF CIVIL
                                Los Angeles, J. KEITH STEPHENS, )                                            RIGHTS - FIFTH AMENDMENT
                      15        and VIRTUAL MEDIA GROUP,            )                                        [42 USC 1983];
                                INC.,                               )
                      16                                            )                                        3. EMINENT DOMAIN;
                                         Plaintiffs,                )
                      17                                            )                                        4. VIOLATION OF THE SHERMAN
                                                                    )                                        ANTITRUST ACT;
                      18                                            )
                                      vs.                           )                                        5. VIOLATION OF THE
                      19                                            )                                        CARTWRIGHT ACT;
                                                                    )
                      20        CITY OF LOS ANGELES, a municipal )                                           6. VIOLATION OF CALIFORNIA
                                corporation, OUTFRONT MEDIA,        )                                        UNFAIR COMPETITION LAW;
                      21        INC., and DOE 1 through DOE 25,     )                                        AND
                                                                    )
                      22                 Defendants.                )                                        7. WRIT OF MANDATE
                                                                    )
                      23                                            )
                                _______________________________ )                                            [DEMAND FOR JURY TRIAL]
                      24

                      25

                      26
                      27

                      28

                                                                                                                                                               COMPLAINT
Case 2:20-cv-07036-SVW-AGR Document 1-1 Filed 08/05/20 Page 3 of 55 Page ID #:8



   1   Plaintiffs allege as follows:
   2

   3                                          I. THE PARTIES
   4

   5   A. Plaintiffs
   6

   7
              1.       Plaintiff, The California Property Rights Organization of Los Angeles

   8
       (“CALPRO”), is an unincorporated association of residents, property owners and

   9
       taxpayers in the City of Los Angeles (the “City”). The majority of CALPRO’s

  10   members have paid taxes to the City within one year before the commencement of

  11   this action.1 CALPRO sues herein individually and in a representative capacity on

  12   behalf of the City and its residents, property owners and taxpayers.

  13          2.       Plaintiff, Anton Karraa (“Karraa”) is a member of CALPRO and a

  14   resident, property owner and taxpayer in the City. Karraa has paid taxes to the City

  15   within one year before the commencement of this action.

  16          3.       Karraa is also the President of Rabadi Service Station, Inc., a

  17   California corporation which owns and operates a Mobile gas station located at 6301

  18   Santa Monica Boulevard in the City (hereafter the “Service Station Property”).

  19          4.       Until on or about September 1, 2019, Outfront Media, Inc. (“Outfront),

  20   operated an off-site advertising sign (“Billboard”) at the Service Station Property

  21
       1
  22          Section 526a of the California Code of Civil Procedure creates special standing for
       taxpayers to bring suit to prevent certain government actions:
  23           An action to obtain a judgment, restraining and preventing any illegal expenditure of,
               waste of, or injury to, the estate, funds, or other property of a county, town, city or city
  24           and county of the state, may be maintained against any officer thereof, or any agent, or
               other person, acting in its behalf, either by a citizen resident therein, or by a corporation,
  25           who is assessed for and is liable to pay, or, within one year before the commencement of
               the action, has paid, a tax therein. [Emphasis added.]
  26
               In addition to the rights created by section 526a, the common law also empowers
  27   taxpayers to sue the government on grounds of fraud, collusion, ultra vires, or a failure to perform
       a duty specifically enjoined. (San Bernardino County v. Superior Court (2015) 239 Cal.App.4th
  28   679, 681 [190 Cal.Rptr.3d 876].)

                                                        2                                    COMPLAINT
Case 2:20-cv-07036-SVW-AGR Document 1-1 Filed 08/05/20 Page 4 of 55 Page ID #:9



   1   pursuant to a written lease. The aboveground portions of this Billboard have been
   2   removed by Outfront, but all of the below ground portions of the Billboard,
   3   including its support column and foundation remain in place. Additionally, Outfront
   4   still operates a second Billboard on the Service Station Property.
   5          5.      Plaintiff, J. Keith Stephens is an individual residing in the City and has
   6   worked in the outdoor adverting Industry in Sothern California, including in the
   7   City, developing and operating Billboards for more than three decades in the City
   8   and surrounding areas.2
   9          6.      Plaintiff, Virtual Media Group, Inc. (“VMG”) is an outdoor adverting
  10   company founded in 1999. The business of VMG is the development, ownership
  11   and operation of Billboards primarily in the City.
  12

  13   B. Defendants
  14          7.      The City is a municipal corporation organized and existing under the
  15   laws of the State of California.
  16          8.      Outfront is a California Corporation engaged in the outdoor adverting
  17   business in Los Angeles, California.
  18          9.      Plaintiffs are unaware of the true names and capacities of Defendants
  19   Doe 1 through Doe 25, inclusive, but are informed and believe and thereon allege
  20
       2
         Billboards or off-site signs are made available to national and local advertisers and other
  21   members of the public in a fashion similar to newspaper, magazine and broadcast advertising, and
       the messages on Billboards change periodically. Billboards are used to convey a wide variety of
  22   commercial and non-commercial messages, including political, ideological, religious, charitable
       and public service messages. As such, Billboards are a recognized medium of communication and
  23   forum for free speech and the expression of ideas. In contrast, “on-site signs" advertise the
       business located on, or the products or services available at, the site where the sign is located.
  24
       On-site signs consist almost exclusively of permanent commercial messages advertising on-site
  25   businesses. As such, on-site signs are not available to be used by third parties as is the case with
       Billboards and are not a medium for free speech and the expression of ideas by the public.
  26   Because of the nature of Billboards as a forum for free speech and the expression of ideas, they
       are protected under the First and Fourteenth Amendments to the Federal Constitution and under
  27   Article I, sections 2 and 7 of the California Constitution. (Metromedia, Inc. v. City of San Diego
       (1981) 453 U.S. 490 [101 S.Ct. 2882, 69 L.Ed.2d 800] and Gerawan Farming, Inc. v. Lyons
  28   (2000) 24 Cal.4th 468 [101 Cal.Rptr.2d 470, 12 P.3d 720].)

                                                       3                                    COMPLAINT
Case 2:20-cv-07036-SVW-AGR Document 1-1 Filed 08/05/20 Page 5 of 55 Page ID #:10



   1   that each are responsible, in some manner, for the events and happenings alleged
   2   herein. Plaintiffs therefore sue said Defendants under such fictitious names and will
   3   amend this Complaint to allege their true names and capacities when the same have
   4   been ascertained.
   5
              10.    Plaintiffs are informed and believe and thereon allege that at all times
   6
       herein mentioned, Defendants, Doe 1 through 25, and each of them, were the agents,
   7
       servants and employees of each of their Co-Defendants, and in performing the acts
   8
       herein alleged were acting within the course and scope of their authority as such
   9
       agents, servants and employees with the permission and consent of their Co-
  10
       Defendants.
  11
              11.    Plaintiffs are also informed and believe and thereon allege that all of
  12
       the Defendants names herein, and each of them, knowingly and willfully conspired
  13
       and agreed among themselves to undertake the acts described below and to deny
  14
       Plaintiffs rights guaranteed by the California and the United States Constitutions
  15
       causing injury to Plaintiffs as described in greater detail below. Plaintiffs are further
  16
       informed and believe and thereon allege that Defendants, and each of them, did the
  17
       acts described herein pursuant to, and in furtherance of, such conspiracy and
  18
       furthered the conspiracy by cooperating with other Defendants or by lending aid and
  19
       encouragement or ratifying and adopting the acts of such Defendants.
  20
  21                          II. PRELIMINARY ALLEGATIONS
  22

  23   A. Purported Prohibition on Off-Site Signs
  24          12.    There currently exists and is in effect as part of the municipal code of
  25   the City (the “LAMC”) a series of ordinances which regulate the erection and
  26   operation of all signs (the “Sign Ordinance”). Since at least 2002, the Sign
  27   Ordinance has purported to prohibit all new “off-site signs,” more commonly known
  28

                                                  4                                COMPLAINT
Case 2:20-cv-07036-SVW-AGR Document 1-1 Filed 08/05/20 Page 6 of 55 Page ID #:11



   1   as “Billboards.” This prohibition includes both static and digital Billboards but does
   2   not impact signs which convey on-site messages. This purported ban shall hereafter
   3   be referred to as the “Sign Ban.”
   4          13.   Plaintiffs refer to the Sign Ban as “purported,” because many
   5   Billboards have been constructed since its adoption. These new Billboards have
   6   been permitted based on numerous exceptions to the Sign Ban contained in the
   7   LAMC. However, because all such exceptions are discretionary, the effect of the
   8   Sign Ban has not been to prohibit Billboards but instead to allow them only for
   9   speakers favored by the City.
  10          14.   In fact, Plaintiffs are informed and believe and thereon allege that the
  11   Sign Ban has not even significantly slowed the construction of Billboards but
  12   merely ensured that only certain favored speakers receive from the City the
  13   necessary government entitlements to allow their construction and operation.
  14   Furthermore, because all others are foreclosed from constructing new billboards,
  15   those whom the City has favored have seen the value of their new Billboards soar.
  16          15.   The current version of the Sign Ordinance contains the following
  17   description of prohibited signs:
  18          SEC. 14.4.4. GENERAL PROVISIONS.
  19
              B.     Prohibited Signs. Signs are prohibited if they:
  20          11. (Amended by Ord. No. 180,841, Eff. 8/14/09.) Are off-site signs,
              including off-site digital displays, except when off-site signs are
  21
              specifically permitted pursuant to a relocation agreement entered into
  22          pursuant to California Business and Professions Code Section 5412. This
              prohibition shall also apply to alterations, enlargements or conversions to
  23
              digital displays of legally existing off-site signs, except for alterations that
  24          conform to the provisions of Section 91.6216 and all other requirements of
              this Code.
  25

  26          EXCEPTIONS: This prohibition shall not apply to off-site signs,
              including off-site digital displays, that are specifically permitted
  27
              pursuant to a legally adopted specific plan, supplemental use district or
  28          an approved development agreement. This exception shall become

                                                 5                              COMPLAINT
Case 2:20-cv-07036-SVW-AGR Document 1-1 Filed 08/05/20 Page 7 of 55 Page ID #:12



   1          operative only to the extent that Subdivision 11. is deemed constitutional
   2          upon the reversal of the trial court decision in the case of World Wide Rush,
              LLC v. City of Los Angeles, United States District Court Case No. CV 07-
   3          238 ABC. [Emphasis added.]
   4          16.   Plaintiffs are informed and believe and thereon allege that the Sign
   5   Ban was not designed to limit Billboards but instead to allow certain favored
   6   speakers to maintain a monopoly on Billboards at the expense of the First
   7   Amendment rights of their competitor and the public.
   8          17.   Plaintiffs are further informed and believe and thereon allege that the
   9   Sign Ban was also designed to artificially suppress ground lease rates for Billboard
  10   sites for the benefit of the few giant outdoor companies, including Outfront, which
  11   have monopoly or near monopoly control the Los Angeles market at the expense of
  12   thousands of property owners and taxpayers without payment of just compensation
  13   in violation of the Fifth Amendment.
  14

  15   B. Origin of Purported Sign Ban

  16          18.   Plaintiffs are informed and believe and thereon allege that the origin of

  17   the City’s purported Sign Ban was an agreement entered between a few of the

  18   nation’s largest outdoor advertising companies, including, but not limited to

  19   Outfront, to unfairly stifle competition and maintain their monopolistic control over
  20   the Los Angeles Billboard market, which is the second largest in the United States.
  21          19.   For several years before the enactment of the Sign Ban, smaller
  22   competitors, such as VMG, were making inroads into the Los Angeles Billboard
  23   market. Not only did this create competition which threatened the pricing structure
  24   of the established companies, but by competing to lease real property for Billboards,
  25   new entrants into the market began driving up prices for ground leases.
  26          20.   Prior to this increase in competition, the few giant outdoor advertising
  27   companies operating in Los Angeles, including Outfront, were able to keep ad rates
  28   artificially high and ground lease rents unreasonably low. In fact, many Billboard

                                                6                                COMPLAINT
Case 2:20-cv-07036-SVW-AGR Document 1-1 Filed 08/05/20 Page 8 of 55 Page ID #:13



   1   ground leases are decades old and have become month to month tenancies. Such
   2   leases generally offer property owners only a minuscule fraction of the true value of
   3   the leases. Plaintiffs are informed and believe and thereon allege that in many cases,
   4   outdoor advertising companies are paying only between one and five percent of their
   5   net revenue to the property owners at the Billboard sites.3
   6          21.     Plaintiffs are further informed and believe and thereon allege that any
   7   property owner who demands a fair return on a ground lease for a Billboard site
   8   would be immediately threatened with the removal of the existing Billboard.
   9   Because of spacing requirements in the LAMC between Billboards and the
  10   purported Sign Ban, the giant outdoor advertising companies can merely “relocate”
  11   to another site nextdoor and prevent any new sign from being installed at the prior
  12   site. This situation gives these few monolithic companies a virtual stranglehold on
  13   Billboards sites, ad rates and property rents.
  14          22.    Plaintiffs are informed and believe and thereon allege that the few
  15   giant outdoor adverting companies which have monopolistic control over the Los
  16   Angeles outdoor advertising market, including, but not limited to, Outfront and Doe
  17   1 through Doe 25, and each of them, entered into a conspiracy to accomplish the
  18   anticompetitive goals described in this complaint, hereafter the “Anticompetitive
  19   Plan.” The Sign Ban was a critical component of the Anticompetitive Plan, because
  20   it immediately rendered all existing Billboards legal, nonconforming uses of
  21
       property and generally prevented the rebuilding of any Billboard removed as a result
  22
       of demands from property owners for fair market rent.
  23

  24
       3
        Although adverting rates vary wildly from site to site, depending on the location and volume of
  25   nearby vehicular traffic, in a typical case, an outdoor adverting company may earn between
       $30,000 and $50,000 a month at a single Billboard site and pay the owner of the real property
  26   only $500 a month. In other words, an outdoor advertising company might earn as much as
       $360,000 a year from a single Billboard while paying the owner of the real property who
  27   makes the Billboard possible only $6000 annually, or less than two percent.
  28

                                                      7                                  COMPLAINT
Case 2:20-cv-07036-SVW-AGR Document 1-1 Filed 08/05/20 Page 9 of 55 Page ID #:14



   1          23.    The outdoor adverting companies operating Billboards in the City and
   2   which participated in conceiving and putting into operation the Anticompetitive Plan
   3   include Outfront and Doe I through Doe 25 and each of them. These companies
   4   control nearly the entirety of the Los Angeles advertising market. Outfront
   5   (previously known as CBS Outdoor Americas, Inc.) operates over 400,000
   6   billboards in 25 of the top media markets in the United States.
   7          24.    These outdoor adverting companies dwarf their competition and
   8   exercise monopoly or near monopoly control over the Los Angeles adverting
   9   market. These monolithic outdoor advertising companies, the largest and most
  10   wealthy operating in Los Angeles and participating in the Anticompetitive Plan,
  11   shall be referred to hereafter collectively as the “Predatory Companies.”
  12

  13
       C. City Policy of Issuing Building Permits to the Predatory Companies Without
  14
       Property Owner Consent and Even Over Their Objection
  15
              25.    For decades, the City’s Building Department has had a general practice
  16
       of requiring contractors applying for building permits of any kind, including
  17
       demolition and grading permits, to present proof of consent by the owner of the real
  18
       property where the work is to be done. This is generally accomplished by presenting
  19
       a notarized letter of authorization signed by the record owners of the real property.4
  20
              26.    One of the reasons for the above policy is that the City also has a
  21
       general practice of holding the record owners of real property solely or primarily
  22
       liable for any violations of the City’s building and zoning codes occurring on their
  23
       property. In such cases, the City issues citations and assesses monetary penalties
  24

  25   4
        In fact, Section 91.103.2. of the LAMC makes it a crime to obtain a building permit without
       consent of the property owner:
  26
              Violation of a Building or Grading Permit. Every person who knowingly and willfully
  27          procures a building and/or grading permit without the consent of the owner of record of
              the property for which the permit is issued, or such person’s agent, is guilty of a
  28          misdemeanor.

                                                     8                                   COMPLAINT
Case 2:20-cv-07036-SVW-AGR Document 1-1 Filed 08/05/20 Page 10 of 55 Page ID #:15



    1   against the owners and places liens on their real property. Accordingly, where a
    2   tenant undertakes unpermitted construction on any parcel of real property within the
    3   City, it is almost invariably the record who are held responsible even where any
    4   wrongdoing was committed solely by a tenant.
    5          27.   Despite the foregoing, the City’s Building Department regularly
    6   departs from its normal practices and ignores the law in the case of outdoor
    7   advertising companies, particularly the Predatory Companies, by allowing them
    8   alone to obtain permits to demolish existing billboards without property owner
    9   consent. Such permits have issued without the knowledge of the property owner and
   10   frequently over the property owner’s express objections. This practice is unique to
   11   the outdoor advertising industry and contrary to the laws, policies and procedures of
   12   the City’s Building Department in all other cases.
   13          28.   This policy by the City has been crucial in carrying out the
   14   Anticompetitive Plan. It has not only allowed the Predatory Companies to punish
   15   any property owner who demands a fair market rent from outdoor advertising
   16   companies but has had a chilling effect on any others who be might do so and
   17   demand fair market value for the leasing of Billboard sites.
   18          29.   Plaintiffs are informed and believe and thereon allege that the City’s
   19   policy of issuing permits without property owner consent in the case of Billboards
   20   has been used by the Predatory Companies to unfairly destroy the value of ground
   21   leases for Billboard sites and keep out any competition. Plaintiffs are further
   22   informed and believe and thereon allege that the City has aided the Predatory
   23   Companies in this effort to implement the Anticompetitive Plan by ignoring the
   24   requirements of the LAMC and has destroyed the value of thousands of parcels of
   25   real property without the payment of a single penny in compensation.
   26          30.   There are more than 10,000 Billboard sites in the City and many
   27   thousands have had their value severely limited or virtually destroyed through the
   28   City’s support and implementation of the Anticompetitive Plan. Plaintiffs are
                                                  9                               COMPLAINT
Case 2:20-cv-07036-SVW-AGR Document 1-1 Filed 08/05/20 Page 11 of 55 Page ID #:16



    1   informed and believe and thereon allege that the resulting loss in revenue and
    2   property value amounts to hundreds of millions of dollars and continues to accrue.
    3

    4   D. Tactics of Predatory Companies in Action
    5          31.    Karraa recently tried to obtain fair market rent for a Billboard located
    6   on the Service Station Property and being operated by Outfront (hereafter the “First
    7   Karraa Billboard”). However, the response by Outfront demonstrates the Predatory
    8   Plan in operation.
    9          32.    The First Karraa Billboard was constructed in 1997 by an outdoor
   10   advertising company other that Outfront. However, the original lease was renewed
   11   and amended several time and eventually acquired by Outfront. The last operative
   12   version of the lease was scheduled to expire on or about August 31, 2019. Prior to
   13   the lease expiration, Karraa contacted Outfront in an attempt to negotiate a new
   14   lease and increased rental amount reflecting fair market value. All such efforts by
   15   Karraa were rebuffed, and he could not even get a return phone call from Outfront.
   16          33.    Because Karraa received no response from Outfront to his request to
   17   negotiate a new lease, he contacted VMG and entered into a new contract to operate
   18   the First Karraa Billboard at the Service Station Property after Outfront’s lease
   19   terminated.
   20          34.    Only after Outfront received notice of the new contract between
   21   Karraa and VMG did it attempt to negotiate a rent increase with Karraa. Outfront
   22   threatened Karraa that if he leased to VMG, they would punish him by removing the
   23   large steel pole that had supported the First Karraa Billboard for more than two
   24   decades and seek to prevent any other Billboard from ever being operated at the
   25   Service Station Property.
   26          35.    As Karraa had already signed the new lease with VMG, Outfront’s
   27   belated efforts were fruitless. In order to ensure a smooth transition and prevent
   28   disruption of the business of the Mobile gas station operated by Karraa, VMG
                                                  10                              COMPLAINT
Case 2:20-cv-07036-SVW-AGR Document 1-1 Filed 08/05/20 Page 12 of 55 Page ID #:17



    1   offered to buy from Outfront the large steel pole which had supported the Billboard.
    2   VMG offered to pay Outfront $180,000, significantly more than the cost of
    3   rebuilding the Billboard. This offer would also save Outfront the $20,000 to $30,000
    4   cost of removing parts of the existing structure.
    5          36.   Outfront did not respond to the offer from VMG. Instead, and true to
    6   its threats, Outfront immediately applied to the City’s Building Department for a
    7   permit to remove the existing pole. This application was made by Outfront without
    8   the knowledge or permission of Karraa. When later Karraa learned of the
    9   application, and before any permit was issued, he objected to the City and informed
   10   the Building Department that the owner of the Service Station Property had not
   11   given consent to the issuance of such a permit which he feared might destroy a legal,
   12   nonconforming structure and constitute legal waste.
   13          37.   The City Building Department ignored all of Karraa objections and the
   14   provisions of the LAMC requiring property owner consent before issuance of any
   15   permit. Over Karraa’s express written objections, the City’s Building Department
   16   issued a permit to Outfront which then proceeded to move heavy construction
   17   equipment onto the Service Station Property, disrupting the business of the gas
   18   station, and removing the above ground portions of the First Karraa Billboard.
   19          38.   A steel column supporting a Billboard that has been in the ground for
   20   more than two decades is generally not reusable, both because of its condition and
   21   because of changing industry standards and building codes. Plaintiffs are informed
   22   and believe and thereon allege that the value of the removed pole of the First Karraa
   23   Billboard is no more than $5000 to $7500 as scrap metal. Plaintiffs are further
   24   informed and believe and thereon allege that the draconian tactics of Outfront cost
   25   the company approximately $210,000 by foregoing the cash offered by VMG to
   26   purchase the old steel column in place and insisting on incurring the expense of its
   27   removal.
   28

                                                  11                             COMPLAINT
Case 2:20-cv-07036-SVW-AGR Document 1-1 Filed 08/05/20 Page 13 of 55 Page ID #:18



    1          39.    Plaintiffs are further informed and believe and thereon allege that the
    2   acts undertaken by Outfront in regard to the First Karraa Billboard were entire
    3   consistent with the Anticompetitive Plan, including, but not limited to:
    4          a. Karraa was punished for seeking a fair market rent;
    5          b. A warning was sent to other property owners who might do likewise;
    6          c. no general pattern would be established of increasing ground lease rents;
    7          and
    8          d. Outfront’s smaller competitor, VMG, would not be able to enter the
    9          market.
   10          40.    Plaintiffs are informed and believe and thereon allege that punishing
   11   Karraa and making an example of him was important to Outfront for another reason.
   12   There is a second Billboard located on the Service Station Property which has also
   13   been inherited by Outfront and the lease for which will soon expire (the “Second
   14   Karraa Billboard”). Plaintiffs are informed and believe and thereon allege that
   15   Outfront wanted to make sure that Karraa would not feel that he had any option but
   16   to agree to whatever terms Outfront stooped to offer in renewing the lease for the
   17   Second Karraa Billboard and that he would abandon any thought of obtaining fair
   18   market value.
   19          41.    The lease under which Outfront operated the First Karraa Billboard at
   20   the Service Station Property also contained a provision that Outfront would restore
   21   the property to its original condition at upon termination. At the time that the
   22   original lease was executed in 1997, the condition of the Service Station Property
   23   was that a Billboard could be constructed. At the time of termination in 2019, and in
   24   part as a result of efforts by Outfront to implement the Anticompetitive Plan, all
   25   existing Billboards became legal, nonconforming uses of property. Accordingly,
   26   Outfront did not restore the Service Station Property to its 1997 condition but
   27   instead took punitive steeps to substantially lessen its value by attempting to
   28   demolish a legal, nonconforming use.
                                                  12                               COMPLAINT
Case 2:20-cv-07036-SVW-AGR Document 1-1 Filed 08/05/20 Page 14 of 55 Page ID #:19



    1   E. City’s Refusal to Allow the Replacement of Above-Ground Portions of the
    2   First Karraa Billboard
    3          42.     Though Outfront dismantled the above ground components of the First
    4   Karraa Billboard, it left in place the underground portions, including the support
    5   column and cement foundation, which extends 20 to 30 feet below ground and
    6   weighs thousands of pounds.
    7          43. The standard monopole Billboard in Los Angeles is constructed with a
    8   single steel column generally approximately five feet in diameter and 50 to 60 feet
    9   long. Ordinarily, the Billboard is installed by auguring a hole seven to eight feet in
   10   diameter and at least 25 to 30 feet deep. The steel column is then lowered by crane
   11   into the hole and filled with cement. This leaves the remainder of the column above
   12   ground and generally allowing for the display frame or “superstructure” to be
   13   bolted to the above ground portion of the column. However, the visible, above
   14   ground portions of a Billboard represent only a small fraction of the entire structure
   15   and its cost.5 The diagram below shows the above ground portion of a typical
   16   Billboard:
   17

   18

   19

   20
   21

   22

   23

   24

   25

   26
        5
   27    In some situations, where the soil is unusually sandy or otherwise unstable, a round steel cage or
        caisson made from rebar must also be used to line the inside of the hole in order to keep back the
   28   soil until the cement can be poured.

                                                       13                                   COMPLAINT
Case 2:20-cv-07036-SVW-AGR Document 1-1 Filed 08/05/20 Page 15 of 55 Page ID #:20



    1          44.   The diagram below illustrates both the above and below ground
    2   components of a typical Billboard:
    3

    4

    5

    6

    7

    8

    9

   10

   11

   12

   13

   14

   15

   16

   17
               45.   All of the above means that a very substantial portion of a Billboard is
   18
        generally underground and unseen. In fact, the cost of the underground potions of a
   19
        Billboard, including installation, generally exceed the cost of the above ground
   20
        portions.
   21
               46.   In the case of the First Karraa Billboard, the below ground portion
   22
        would cost approximately $ 250,000 to $300,000 to install, while replacing the
   23
        above ground portions would cost approximately $150,000 to $200,000. In other
   24
        words, more than 50 percent of the structure in terms of its cost remains in place on
   25
        the Service Station Property.
   26
               47.   The 50 percent figure is highly significant, because the LAMC
   27
        provides that legal, non-conforming Billboards may be “altered, repaired or
   28

                                                 14                              COMPLAINT
Case 2:20-cv-07036-SVW-AGR Document 1-1 Filed 08/05/20 Page 16 of 55 Page ID #:21



    1   rehabilitated” so long as the cost of the work does not exceed 50 percent of the
    2   replacement cost and there is no increase in height or size. Section 91.6216.4 of the
    3   LAMC provides the following:
    4

    5
               91.6216.4. Alterations, Repairs or Rehabilitation.

    6          91.6216.4.1. Alterations, repairs or rehabilitation of any existing sign and/or
    7
               support structure may be of the same type of construction as the existing sign
               or sign support structure provided:
    8

    9           1. The aggregate value of the work in any one year does not exceed ten
               percent of the replacement cost of both the sign and sign support structure;
   10          and
   11
                2. That there is no increase in sign area or height and no change in the
   12          location or orientation of the sign.
   13
               91.6216.4.2. Alterations, repairs or rehabilitation of existing sign and/or sign
   14          support structures in excess of ten percent of the replacement cost of both the
   15          sign and sign support structure may be made provided:

   16          1. That the cost of the work does not exceed 50 percent of the
   17          replacement cost of both the sign and sign support structure; and

   18            2. That there is no increase in the sign area or height and no change
   19          in the location or orientation of the sign; and

   20            3. All new construction shall be as required for a new sign of the same
   21          type.
   22          91.6216.4.3. Alterations, repairs or rehabilitation of existing sign and/or
   23          sign support structures that exceed 50 percent of the replacement cost of
               both the sign and sign support structure shall comply with all the
   24          requirements of this Code. [Emphasis added.]
   25

   26
               48.   In addition to the, the Service Station Property is located within an
   27
        area that the City has designated as the Hollywood Signage Supplemental Use
   28

                                                  15                              COMPLAINT
Case 2:20-cv-07036-SVW-AGR Document 1-1 Filed 08/05/20 Page 17 of 55 Page ID #:22



    1   District created by Ordinance No. 176172 and is subject to additional sections of the
    2   LAMC. Specifically, the Service Station Property and the First Karraa Billboard are
    3   also governed by Ordinance No. 181340 which contains the following provision at
    4   Section 6. I.:
    5

    6
               Existing Signs. Every existing sign and/or sign support structure
               constructed under a valid permit and used in conformance with the Code
    7          regulations and LADBS approvals in effect at the time of construction shall
    8
               be allowed to continue to exist under those regulations and approvals even
               though subsequent adopted regulations and approvals have changed the
    9          requirements. All existing non-conforming signs shall be included in
   10          computing total sign area. There shall be no increase in sign area or height
               and no change in the location or orientation of any existing non-
   11          conforming sign. Before the issuance of a building permit for a new sign on
   12          a lot, all existing unpermitted signage on that lot shall be removed or
               demolished. [Emphasis added.]
   13
               49.       Based on the foregoing, VMG and Stephens caused to be submitted to
   14
        the City on behalf of Karraa an application to alter, repair or rehabilitate the First
   15
        Karraa Billboard by replacing the above ground portions that had been dismantled
   16
        by Outfront. The application also made it clear that there would be no change in the
   17
        area, height, location or orientation of the existing sign.
   18
               50.       Though the cost of the work for which VMG and Stephens sought a
   19
        permit was less than “50 percent of the replacement cost of both the sign and sign
   20
        support structure” and they were entitled to a permit pursuant to the LAMC, the
   21
        application was wrongfully denied.
   22
               51.       Plaintiffs are informed and believe and thereon allege that such denial
   23
        was not only in violation of the provisions of the LAMC as well an uncompensated
   24
        taking in violation of the Fifth Amendment to the United States Constitution, but
   25
        that it was also done in furtherance of the Anticompetitive Plan.
   26
   27

   28

                                                    16                              COMPLAINT
Case 2:20-cv-07036-SVW-AGR Document 1-1 Filed 08/05/20 Page 18 of 55 Page ID #:23



    1   F. Failure to Enforce Sign Ordinance Against Predatory Companies
    2          52.        The City has also routinely ignored Billboards constructed and
    3   operated by the Predatory Companies without any permit and in violation of the
    4   LAMC. In 2002, the City paid for an inventory to be compiled of Billboards which
    5   were either initially constructed or subsequently modified without a valid building
    6   permit. The inventory revealed nearly 1000 such signs being operated for years in
    7   violation of the LAMC.
    8          53.    Plaintiffs are informed and believe and thereon allege that the City has
    9   generally allowed the Predatory Companies to continually violate the LAMC while
   10   generally prosecuting only their much smaller competitors and individual property
   11   owners. Such action has been taken by the City despite requests from the City
   12   Attorney’s Office to be allowed to enforce the LAMC against the Predatory
   13   Companies.
   14          54.    LAMC section 11.00 (l) and (m) provides significant civil and criminal
   15   penalties for construction undertaken without permits. LAMC section 11.00,
   16   subdivision (l), provides that: "Violations of this code are deemed continuing
   17   violations and each day that a violation continues is deemed to be a new and
   18   separate offense and subject to a maximum civil penalty of $2,500 for each and
   19   every offense."
   20          55.    Similarly, LAMC section 11.00, subdivision (m), declares that: "Any
   21   person violating any of the provisions or failing to comply with any of the
   22   mandatory requirements of this Code, shall be guilty of a misdemeanor unless that
   23   violation or failure is declared in this Code to be an infraction." It goes on to state:
   24   "Every violation of this Code is punishable as a misdemeanor unless provision is
   25   otherwise made, and shall be punishable by a fine of not more than $1,000.00 or by
   26   imprisonment in the County Jail for a period of not more than six months, or by both
   27   a fine and imprisonment."
   28

                                                   17                                COMPLAINT
Case 2:20-cv-07036-SVW-AGR Document 1-1 Filed 08/05/20 Page 19 of 55 Page ID #:24



    1          56.     Plaintiffs are informed and believe and thereon allege that many of the
    2   unpermitted Billboards described in the inventory have been operated for many
    3   years, in fact the majority have been in place for more than five years each. The
    4   penalties owed to the City for a single year for the operation of 1000 unpermitted
    5   Billboards is approximately $912,500,000.6
    6          57.     Furthermore, the City has concluded that Billboards impose a burden
    7   on the public as a detriment to substantial governmental interests such as traffic
    8   safety and aesthetics.7 Accordingly, the continued existence of nearly 1000
    9   unpermitted Billboards imposes a significant burden on the general public to the
   10   benefit of a few giant outdoor advertising companies, including the Predatory
   11   Companies.
   12          58.     Plaintiffs are informed and believe and thereon allege that both the
   13   City’s action and inaction has resulted in an improper and ultra viries gift of public
   14   assets to the Predatory Companies.
   15          59.     The Predatory Companies regularly make large contributions to
   16   political campaigns in the City both in the form of cash, gifts and ad space for
   17   political campaigns. Plaintiffs are informed and believe and thereon allege that in
   18   some cases, such political ads for City officials have actually appeared on Billboards
   19   being maintained in violation of the LAMC.
   20
        6
   21     At a time when the City claims to be searching diligently for funding for programs such as
        housing the homeless, its refusal to take any action to collect the very substantial monies owed for
   22   the blatant and continued violation of the LAMC by favored outdoor advertising companies is
        incomprehensible.
   23   7
          Plaintiffs do not concede that Billboards actual cause any harm to these stated interests. This is
        partrtcularly true where the City has banned all Billboards, static or digital, since 2002 but has
   24   been allowing the proliferation of both on-site and off-site digital signs. Certainly any harm to
        traffic safety or aesthetics allegedly flowing from static Billboards is multiplied many times over
   25   for digital signs, whether on-site of off-site.
   26   In some instances, where the City has concluded that a static billboard is a hazard, it has allowed
        more favored speakers to place larger, brighter and far more intrusive digital signs. Plaintiffs
   27   contend that this practice is merely one more example of how the City has dishonestly and
        hypocritically manipulated the LAMC and the protections of the State and Federal Constitutions
   28   solely to help certain favored parties.

                                                        18                                    COMPLAINT
Case 2:20-cv-07036-SVW-AGR Document 1-1 Filed 08/05/20 Page 20 of 55 Page ID #:25



    1   G. Relocation Agreements and Digital Billboards
    2          60.    One of the legal exceptions to the Sign Ban is for Billboards which are
    3   “relocated” pursuant to an agreement with the City. (LAMC section 14.4.4 B. 11.)
    4   However, such relocation is a legal fiction to the extent that no Billboard is actually
    5   relocated. Instead, relocation involves the removal of one Billboard and erecting an
    6   entirely new one at a different more profitable site.
    7          61.    The provision in the LAMC allowing for Relocation Agreements as a
    8   means of circumventing the Sign Ban is explicitly premised on a state law found in
    9   Business and Profession Code section 5412, which provides, in pertinent part, the
   10   following:
   11

   12
               Notwithstanding any other provision of this chapter, no advertising
               display which was lawfully erected anywhere within this state shall be
   13          compelled to be removed, nor shall its customary maintenance or use be
   14
               limited, whether or not the removal or limitation is pursuant to or because of
               this chapter or any other law, ordinance, or regulation of any governmental
   15          entity, without payment of compensation, as defined in the Eminent
   16          Domain Law (Title 7 (commencing with Section 1230.010) of Part 3 of the
               Code of Civil Procedure), except as provided in Sections 5412.1, 5412.2, and
   17          5412.3. The compensation shall be paid to the owner or owners of the
   18          advertising display and the owner or owners of the land upon which the
               display is located.
   19

   20                             *           *            *
               “Relocation,” as used in this section, includes removal of a display and
   21          construction of a new display to substitute for the display removed.
   22
                      It is a policy of this state to encourage local entities and display owners
   23          to enter into relocation agreements which allow local entities to continue
   24          development in a planned manner without expenditure of public funds while
               allowing the continued maintenance of private investment and a medium of
   25          public communication. Cities, counties, cities and counties, and all other
   26          local entities are specifically empowered to enter into relocation agreements
               on whatever terms are agreeable to the display owner and the city, county,
   27          city and county, or other local entity, and to adopt ordinances or resolutions
   28          providing for relocation of displays. [Emphasis added.]

                                                  19                               COMPLAINT
Case 2:20-cv-07036-SVW-AGR Document 1-1 Filed 08/05/20 Page 21 of 55 Page ID #:26



    1          62.       Consistent with the guarantees of the Fifth Amendment regarding the
    2   taking of private property, section 5412, which is specifically acknowledged in the
    3   LAMC as the basis for the City’s entry into Relocation Agreements, provides for
    4   compensation not only to the outdoor advertising companies but also to the owners
    5   of the real property where Billboards are removed.
    6          63.    Despite the foregoing, Plaintiffs are informed and believe and thereon
    7   allege that the City has routinely entered into Relocation Agreements which give
    8   outdoor advertising companies, including the Predatory Companies, the right to
    9   demolish a Billboard at one site, depriving the land owner of further rent and
   10   significantly diminishing the value of the subject real property, and erect a new
   11   Billboard at a more profitable site without any compensation whatsoever to the
   12   former lessor.
   13          64.    The willingness of the City to allow the removal of legal, non-
   14   conforming Billboards, including issuing building permits without property owner
   15   consent or compensation, is another key component of the Anticompetitive Plan.
   16

   17
        H. Other Exceptions from the Purported Sign Ban Have Been Granted Only to

   18
        Favored Speakers.

   19
               65.    The United States Supreme Court has repeatedly held that when the

   20   government restricts speech, it bears the burden of proving the constitutionality of

   21   its actions. (United States v. Playboy Entertainment Group (2000) 529 U.S. 803,

   22   816-817, 120 S.Ct. 1878, 1888, 146 L.Ed.2d 865, 881-882.) In order to meet this

   23   burden, the government must, among other things, identify an interest of sufficient

   24   importance to justify its restriction on First Amendment rights. (Greater New

   25   Orleans Broad. Association v. United States (1999) 527 U.S. 173, 188, 119 S.Ct.

   26   1923, 1932, 144 L.Ed.2d 161, 177.) Furthermore, exemptions from an otherwise

   27   legitimate regulation of a medium of speech tend to diminish the credibility of the

   28   government's rationale for restricting speech in the first place. (See, e. g., Cincinnati

                                                   20                               COMPLAINT
Case 2:20-cv-07036-SVW-AGR Document 1-1 Filed 08/05/20 Page 22 of 55 Page ID #:27



    1   v. Discovery Network, Inc., 507 U.S. 410, 424-426, 123 L. Ed. 2d 99, 113 S. Ct.
    2   1505 (1993).)
    3          66.    As indicated above, there are numerous discretionary exceptions from
    4   the purported Sign Ban, specifically for those Billboards which are the subject of a
    5   legally adopted specific plan, supplemental use district, development agreement or
    6   relocation agreement. (LAMC 14.4.4 B. 11).
    7
               67.    Plaintiffs are informed and believe and thereon allege that the City has
    8
        repeatedly and on a regular basis granted exemptions to the Sign Ban, but only for
    9
        certain favored speakers, particularly those with great wealth and resources, to the
   10
        exclusion of virtually all others. The City has done so, even though Billiards
   11
        constructed and operated by wealthy individuals and companies, including the
   12
        Predatory Companies, logically cause all of the same alleged harms as those
   13
        operated by less wealthy citizens. Plaintiffs are further informed and believe and
   14
        thereon allege that the granting of such selective exemptions have been undertaken
   15
        by the City in large part not to further any legitimate governmental interest but to
   16
        advance the Anticompetitive Plan.
   17
               68.    Plaintiffs are further informed and believe and thereon allege that by
   18
        granting exemptions only to favored speakers, including the Predatory Companies,
   19
        the City is able to pressure those individuals and companies seeking to maintain
   20
        favored status to censor the content of their speech (in violation of the First
   21
        Amendment) or agree to bestow certain valuable favors on the City as a condition of
   22
        development (in violation of the Fifth Amendment).
   23
               69.    The granting of such exemptions also illustrates that the City has no
   24
        actual desire to advance those interests it claims are furthered by the Sign Ban nor
   25
        that it has actually made any progress in advancing such interests.
   26
               70.    In order for the government to meet its burden of proving the
   27
        constitutionality of even a content neutral restriction on speech, it must, among other
   28

                                                  21                               COMPLAINT
Case 2:20-cv-07036-SVW-AGR Document 1-1 Filed 08/05/20 Page 23 of 55 Page ID #:28



    1   things, prove both that the law was actually adopted to advance a substantial
    2   governmental interest and also that the law has “directly advanced” such interest.
    3   (Cent. Hudson Gas & Elec. Corp. v. Public Serv. Comm'n (1980) 447 U.S. 557, 591,
    4   100 S.Ct. 2343, 2364, 65 L.Ed.2d 341, 367, and Bd. of Trs. v. Fox (1989) 492 U.S.
    5   469, 474-475, 109 S.Ct. 3028, 3031-3032, 106 L.Ed.2d 388, 400.) Furthermore,
    6   where the government can show only minor, incremental improvements in its stated
    7   goals, a restriction on speech will not be upheld. (Cincinnati v. Discovery Network
    8   (1993) 507 U.S. 410, 443, 113 S.Ct. 1505, 1524, 123 L.Ed.2d 99, 125.)
    9          71.    A restriction on speech adopted for improper purposes, such as to
   10   advance the Anticompetitive Plan, or which is so full of holes that fails to directly
   11   advance the government’s stated goals or does so to only a minor degree, will not
   12   pass constitutional muster. The burden on speech represented by such a law will not
   13   be found to be constitutionally justified.
   14          72.    In another demonstration of the City acting to further the
   15   Anticompetitive Plan, it City has refused to allow some Billboards to operate at
   16   certain geographic locations, determining that such areas are highly inappropriate
   17   for Billboards as they create unique and serious dangers to traffic safety and
   18   aesthetics. In some cases, the City has not only pressured the removal of Billboards
   19   from such areas but has even resorted to criminal prosecutions to do so.
   20          73.    Most of the sites where the City has tried to force the removal of
   21   Billboards are in close proximately to the freeway, sites which are generally more
   22   profitable and more effective for communications because they are visible to a large
   23   number of motorists. In fact, the City has enacted special rules requiring the
   24   evaluation by its Department of Transportation of the traffic safety of any Billboard
   25   within 2000 feet of a freeway. (LAMC section 14.4.6.)8 However, as the City has
   26   absolutely no guidelines on how such a traffic safety determination is to be made,
   27   8
         Most on-site signs are completely exempted from such traffic safety analysis. (See LAMC
   28   section 14.4.6 B.)

                                                     22                                COMPLAINT
Case 2:20-cv-07036-SVW-AGR Document 1-1 Filed 08/05/20 Page 24 of 55 Page ID #:29



    1   this provision of the LAMC has become just another way of helping certain favored
    2   speakers, including the Predatory Companies, to obtain control of the most
    3   profitable and effective Billboard sites.
    4          74.    In some cases, where the City has fought strenuously to have
    5   Billboards removed, contending that a particular site is especially unsuitable for
    6   such a land use, it has then gone on to allow others, including the Predatory
    7   Companies, to install Billboards at the same sites, including larger and brighter
    8   digital Billboards. Plaintiffs are informed and believe and thereon allege that such
    9   action by the City again demonstrates that it is not interested in removal of
   10   Billboards to accomplish any legitimate government interest, such as improving
   11   traffic safety, but instead to clear certain areas of Billboards operated by small
   12   companies or property owners so that favored speakers can then building their own
   13   static or digital billboards in the same areas.
   14          75.    It has been infuriating for Plaintiffs and other similarly situated
   15   property owners and independent Billboard companies to be told that their small
   16   static sign cannot be allowed to exist because they create an unreasonably dangerous
   17   condition in terms of traffic safety and aesthetics only to see the City later publish
   18   findings, in adopting one of the discretionary exceptions to the Sign Ban,
   19   specifically concluding that a much larger digital Billboard operated by a favored
   20   speaker would actually constitute a great benefit to the aesthetics and traffic safety
   21   of the exact same area.
   22          76.    One staggering example of this extraordinary favoritism can be seen in
   23   “The Reef” a development located at 1900 South Broadway. After attempting to
   24   justify a ban on digital signage under the claim that they constitute an overwhelming
   25   detriment to both aesthetics and traffic safety, the City recently approved the
   26   installation of 69,278 square feet of digital signage of three sides of a building
   27   adjacent to the 10 freeway, as depicted below:
   28

                                                    23                              COMPLAINT
Case 2:20-cv-07036-SVW-AGR Document 1-1 Filed 08/05/20 Page 25 of 55 Page ID #:30



    1

    2

    3

    4

    5

    6

    7

    8

    9

   10

   11

   12

   13

   14

   15
               77.    The massive digital signs allowed by the City at the Reef are less than
   16
        1000 feet from the busy 10 freeway. However, the City has determined that signs
   17
        are so dangerous in terms of traffic safety that it requires them to be evaluated by its
   18
        Building and Safety and Transportation Departments if located within 2000 feet of
   19
        any freeway. (LAMC sections 14.4.5 and 14.4.6).
   20
               78.    Plaintiffs are informed and believe and thereon allege that the City has
   21
        no formal guidelines for when and how such a determination is made. Instead,
   22
        Plaintiffs are informed and believe and thereon allege that the City has continually
   23
        manipulated such provisions of the LAMC in a manner having little or nothing to do
   24
        with traffic safety and everything to do with furthering the Anti-Competitive Plan
   25
        and assisting certain favored speakers and developers, who in many cases have been
   26
   27

   28

                                                  24                               COMPLAINT
Case 2:20-cv-07036-SVW-AGR Document 1-1 Filed 08/05/20 Page 26 of 55 Page ID #:31



    1   coerced into bestowing benefits on the City as a condition of development in
    2   violation of the First and Fifth Amendments to the Federal Constitution.9
    3          79.     The national outdoor advertising industry standard for Billboards is 14
    4   x 48 feet (672 square feet). Accordingly, the massive digital signage at The Reef is
    5   the equivalent of more than 103 Billboards, approved by the City through a
    6   discretionary exemption at the same time that it continues to claim that Billboards
    7   are so damaging to traffic safety and aesthetics that nothing short of a complete ban
    8   is sufficient to protect the public. The above picture depicts only two of the large
    9   digital signs that are placed on the three sides of the building visible to the 10
   10   freeway.
   11          80.     The massive scale of the exemption for The Reef is all the more
   12   surprising, because the City has routinely rejected the construction and operation of
   13   standard outdoor adverting structures, even static ones, of only 672 square feet in
   14   nearly identical areas.10
   15          81.     If called upon, Plaintiffs can produce numerous similar examples of
   16   exemption granted by the City to its friends.
   17   9
          In fact, Stephens and a local property owner are currently being criminally prosecuted by the
   18   City in Los Angeles Superior Court Case No. 4CA03603 for maintaining a single billboard with
        two displays faces measuring only 672 square feet each in close proximity to other massive
   19   digital and static signs that the City has not only permitted but published findings stating that they
        are an actual benefit to both aesthetics and traffic safety.
   20   10
           Caltrans limits both digital and static Billboards to a maximum of 1200 square feet ostensible
        to further the same interests in traffic safety and aesthetics used by the City to justify its claimed
   21   ban on such signs. The Reef does not fall under Caltrans jurisdiction, though it is highly visible
        form the 10 freeway. Caltrans has concurrent jurisdiction over such signs only if they are within
   22   660 feet (one furlong) of the freeway. The Reef is approximately 690 feet from the freeway and
        barely escapes the prohibition on such a massive sign by the State. If the Reef’s the massive signs
   23   were 30 feet closer to the freeway, they would be prohibited by the State as a traffic hazard.
        However, City has used this 30-foot difference to allow the installation of these monolithic signs,
   24   though it claims that it seeks to further the same interest in traffic safety as that promoted by the
        State.
   25
        Furthermore, the City does not limit itself to merely prohibiting massive sign within 660 feet of
   26   the freeway as does Caltrans. Instead, the City bans nearly all signs, except building identification
        signs, from a zone extending 2000 feet on each side of the freeway. What possible justification
   27   the City can possibly claim for exempting The Reef’s behemoth digital signs from its own ban is
        unfathomable. Either such signs are a hazard to traffic and an aesthetic detriment, or not, without
   28   reference to how well financed and connected the developer happens to be.

                                                        25                                    COMPLAINT
Case 2:20-cv-07036-SVW-AGR Document 1-1 Filed 08/05/20 Page 27 of 55 Page ID #:32



    1   I. The Costs Imposed by the City, as Embodied in it Exceptions to the Sign
    2   Ban, Are Unconstitutional, Because there is no Reasonable Nexus to Any
    3   Alleged Harm Flowing From Operation of Billboards
    4

    5          82.    All of the exceptions that the City has created to the Sign Ban require
    6   successful applicants to expend very significant amounts of money or bestow other
    7   valuable benefits on the City, including, in many cases, a share in the revenue
    8   generated from Billboards.
    9          83.    Plaintiffs are informed and believe and thereon allege that conditioning
   10   the granting of an exception to the Sign Ban only on the expenditure of such large
   11   amounts of money constitutes what is in most cases an insurmountable obstacle.
   12          84.    The enormous barriers to speech embodied in the very expensive
   13   exceptions to the Sign Ban effectively deny that right to the vast majority of people.
   14   Only the wealthiest outdoor advertising companies and developers, including the
   15   Predatory Companies, are able to exploit the exceptions. However, there is no nexus
   16   between the harms allegedly caused by Billboards and the burdens the City has
   17   imposed as the cost of entry. Instead, the City has just arbitrarily decided to add a
   18   huge financial component as a precondition to constructing and operating
   19   Billboards, in effect selling the right to civil rights to the highest bidder and
   20   converting liberties guaranteed by the First and Fifths Amendments into largesse by
   21
        the municipal government.
   22
               85.    Case law concerning the imposition of fees on developers has
   23
        consistently held that the constitutionality of conditioning permits on the payment of
   24
        special fees requires a relationship between such fees and the increased burden on
   25
        the public caused by the development. Fees that are imposed without a reasonable
   26
        nexus between a land use and the burdens it brings amount to an unconstitutional
   27
        abuse of the state’s police powers (See, e.g., Associated Home Builders etc., Inc. v.
   28

                                                   26                                COMPLAINT
Case 2:20-cv-07036-SVW-AGR Document 1-1 Filed 08/05/20 Page 28 of 55 Page ID #:33



    1   City of Walnut Creek (1971) 4 Cal.3d 633, 644-645, 94 Cal.Rptr. 630, 484 P.2d
    2   606.)
    3           86.   Plaintiffs are informed and believe and thereon allege that the
    4   expenses the City has imposed as a precondition to building and operating
    5   Billboards has little or no connection to the harms that allegedly flow from them.
    6   Therefore, such action by the City is a constitutionally invalid use of its police
    7   powers.
    8           87.   Plaintiffs are further informed and believe and thereon allege that the
    9   City’s invalid use of its police powers is actually designed to substantially further
   10   the Anticompetitive Plan by favoring the very wealthy and favored developers,
   11   including the Predatory Companies.
   12

   13   J. City’s Manipulation of On-Site/Off-Site Distinction to Allow Favored
   14   Speakers to Avoid the Sign Ban Applicable to All Others.
   15           88.   The City’s Sign Ban applies only to “off-site” sign, which are defined
   16   in LAMC Section 14.4.2 as follows:
   17           Off-Site Sign. A sign that displays any message directing attention to a
   18           business, product, service, profession, commodity, activity, event, person,
   19           institution or any other commercial message, which is generally conducted,
   20           sold, manufactured, produced, offered or occurs elsewhere than on the
   21
                premises where the sign is located.
   22
                89.   Signs characterized by the City as “on-site” are exempt from the Sign
   23
        Ban. However, LAMC Section 14.4.2 contains a mere circular definition and states
   24
        that an on-site sign is: “A sign that is other than an off-site sign.”
   25
                90.   Because the Sign Ban applies only to those signs displaying off-site
   26
        content, the City’s subjective determination of whether the content of a given
   27
        message is sufficiently related to those activities occurring at the site of the sign is
   28

                                                    27                               COMPLAINT
Case 2:20-cv-07036-SVW-AGR Document 1-1 Filed 08/05/20 Page 29 of 55 Page ID #:34



    1   dispositive of its legal status. Plaintiffs are informed and believe and thereon allege
    2   that the City has regularly manipulated the definition of on-site and off-site
    3   messages to advantage favored speakers and again advance the Anticompetitive
    4   Plan.
    5           91.   Such manipulation has included characterizing as on-site many
    6   messages that are similar or identical to those that have been determined to be off-
    7   site for less favored speakers. In other words, the exact same ad displayed by a
    8   favored speaker will be characterized by the City as on-site and legally permitted
    9   while the same content is determined to be off-site and subject to the Sign Ban for
   10   disfavored speakers.
   11           92.   There are innumerable instances in which the City has characterized a
   12   particular advertising message as on-site to allow favored speakers to avoid the Sign
   13   Ban. For example, the enormous advertisement shown below was displayed for
   14   months at the Ritz Carlton hotel adjacent to LA Live:
   15

   16

   17

   18

   19

   20
   21

   22

   23

   24

   25

   26
   27

   28

                                                  28                               COMPLAINT
Case 2:20-cv-07036-SVW-AGR Document 1-1 Filed 08/05/20 Page 30 of 55 Page ID #:35



    1

    2

    3

    4

    5

    6

    7

    8

    9

   10

   11

   12

   13

   14

   15

   16

   17

   18

   19

   20
   21

   22

   23

   24

   25

   26          93.   When the City received complaints about the installation of the above
   27   depicted off-site sign in violation of the Sign Ban, it issued an “Order to Comply” to
   28   the Ritz Carlton on or about June 2, 2009. However, the City then closed its file,
                                                 29                              COMPLAINT
Case 2:20-cv-07036-SVW-AGR Document 1-1 Filed 08/05/20 Page 31 of 55 Page ID #:36



    1   with the building inspector concluding that the Coca Cola advertisement was
    2   exempt from the Sign Ban because it was on-site. No similar favorable
    3   determinations have been made for less wealth parties who are regularly preventing
    4   form displaying similar messages.
    5          94.     One of the problems with this determination as to the Ritz Carlton is
    6   that nearly identical ads were determined by the City to be off-site when maintained
    7   by less favored speakers. While the Ritz Carlton no doubt serves Coca Cola, any one
    8   of the property owners where the same ad was determined to be off-site could do the
    9   same. However, Plaintiffs are informed and believe and thereon allege that is all
   10   cases where less favored speaker attempted to avoid the Sign Ban by offering for
   11   sale the products featured on their Billboard, the City concluded that such activity
   12   was not “sufficiently related” to the ad to render it on-site.11
   13          95.     Such discriminatory application of the law clearly denies Plaintiffs
   14   their First Amendment rights. Furthermore, in the First Amendment context, legal
   15   schemes that give too much discretion to government authorities to pick and choose
   16   who may speak create unfettered discretion and are unconstitutional. (Desert
   17   Outdoor Advertising v. City of Moreno Valley (9th Cir. 1996) 103 F.3d 814.)
   18          96.     By way of example, if the owner of property installs a bank ATM or
   19   soft drink dispenser, would that be sufficient to make on-site the display of a bank or
   20   soft drink related advertisement? The LAMC provides no answer for when an
   21   activity is sufficiently related to a site to make its advertisement on-site, though
   22   tremendous amounts of money are involved and the display of prohibited off-site
   23   advertisement is a criminal offense punishable by fines and imprisonment. The lack
   24   of specificity and objective and detailed guidelines furthermore results in both the
   25   inability of the average person to understand what is prohibited as well as allowing
   26   the City broad and constitutionally impermissible discretion to discriminate and
   27   11
          Plaintiff is informed and believes that the Coca Cola ad was subsequently replaced at the Ritz
   28   Carlton with one for Budweiser Beer.

                                                      30                                   COMPLAINT
Case 2:20-cv-07036-SVW-AGR Document 1-1 Filed 08/05/20 Page 32 of 55 Page ID #:37



    1   extend favorable treatment only to certain speakers and messages while denying the
    2   same right to all others.
    3

    4   K. The City’s Most Recent Effort to Advance the Anticompetitive Plan
    5   Focuses on Digital Billboards
    6          97.    Plaintiffs are informed and believe and thereon allege the City is
    7   implementing a new comprehensive scheme designed to further the Anticompetitive
    8   Plan, benefit certain favored speakers and accomplish a massive city-wide series of
    9   uncompensated takings in violation of the Fifth Amendment. Plaintiffs are further
   10   informed and believe and thereon allege that Outfront and Doe 1 through Doe 25,
   11   and each of them, will directly benefit by this new scheme and that its success will
   12   further substantially advance the Anticompetitive Plan.
   13          98.    The new scheme seized upon by the City and the Predatory Companies
   14   is to remove hundreds of small static Billboards from sites around the City and
   15   “Relocate” them in the form of new much larger, brighter and more intrusive digital
   16   Billboards at other more profitable sites.
   17          99.    Plaintiffs are informed and believe and thereon allege that the
   18   Relocation of these static Billboards to new digital Billboards is being accomplished
   19   without the payment of just compensation to thousands of property owners, resulting
   20   in the uncompensated taking of hundreds of millions in value.
   21          100. Plaintiffs are further informed and believe and thereon allege that the
   22   wholesale loss of rental income to local property owners will disproportionately
   23   impact the financially disadvantaged and racial and ethnic minorities, as many of the
   24   Billboards to be removed are located in economically disadvantages areas of the
   25   City. However, such action is designed to and will again further the Anticompetitive
   26   Plan and favor the Predatory Companies.
   27          101. To exacerbate the Fifth Amendment violation being committed by the
   28   City with the aid of the Predatory Companies, Plaintiffs are further informed and
                                                     31                          COMPLAINT
Case 2:20-cv-07036-SVW-AGR Document 1-1 Filed 08/05/20 Page 33 of 55 Page ID #:38



    1   believe and thereon allege that in many cases, the City is encouraging the Relocation
    2   of Billboards to City owned property. In other words, not only is the City seeking
    3   the removal of thousands of existing static Billboards and then “relocated” without
    4   compensation to property owners, but it seeks to make a profit while doing so. The
    5   lease payments which were previously received by private property owners from the
    6   Predatory Companies will now instead be paid in many cases to the City.
    7          102. The exception the City is making for Billboards relocated to City
    8   property also calls into question the legitimacy of the Sign Ban and the City’s
    9   claimed interest in improving traffic safety and aesthetics. If Billboards are such a
   10   detriment to the governmental interests the City claims it seeks to further through
   11   the Sign Ban, then the relocation of Billboards to public property, even with a
   12   corresponding increase in public revenue, should be of no interest to the City.
   13          103. To further exacerbate the hypocrisy of the City’s actions, Plaintiffs are
   14   informed and believe and thereon allege that many of the sites of the relocated
   15   Billboards will be in the 2000 foot exclusion zone which the City has designated in
   16   the LAMC as unusually deleterious to traffic safety.
   17          104. Having artificially made Billboards a scarce commodity and unfairly
   18   suppressed ground lease rents for private parties, the City now want to “cash in.”
   19   Plaintiffs are informed and believe and thereon allege, that while the City has
   20   allowed the Predatory Companies to keep ground lease rents artificially and unfairly
   21   low, that it is now demanding a percentage of the revenue earned from those
   22   Billboards that are being Relocated to City property. In First Amendment
   23   jurisprudence, the raising of revenue has never been held by any court to be a
   24   “substantial governmental interest” so as to justify a restriction on speech.
   25          105.   The Predatory Companies have been focusing much of their efforts to
   26   further advance the Anticompetitive Plan on building digital Billboards since their
   27

   28

                                                  32                               COMPLAINT
Case 2:20-cv-07036-SVW-AGR Document 1-1 Filed 08/05/20 Page 34 of 55 Page ID #:39



    1   efforts were frustrated in Summit Media.12 The primary reason for this is that digital
    2   Billboards are generally far more profitable than static ones. Whereas a static
    3   Billboard can convey only one message at a time, digital Billboards are allowed to
    4   display as many as eight message a minute under state law. This allows the
    5   Predatory Companies to vastly increase their profits by renting each digital
    6   Billboard to multiple advertisers simultaneously. The City is supporting this effort
    7   by the Predatory Companies, regardless of resistance by the general public to digital
    8   Billboards, which are significantly brighter and more invasive and multiply many
    9   times any alleged harm flowing from static Billboards.
   10          106. The United States Supreme Court found that Billboards could
   11   reasonable be considered a greater detriment to traffic safety and aesthetic than
   12   traditional on-site signs because of their “periodically changing content.”
   13   (Metromedia, Inc. v. City of San Diego (1981) 453 U.S. 490, 511 [101 S.Ct. 2882,
   14   2894, 69 L.Ed.2d 800, 817].) However, while static Billboards generally change
   15   messages once every month, digital Billboards do so as frequently as every eight
   16   seconds. Accordingly, the by seeking to convert static Billboards into digital ones,
   17   the City is undercutting the exact legal theory on which the Sign Ban is premised.
   18          107. While the City’s efforts to help the Predatory Companies transform
   19   their static Billboards into digital ones substantially furthers the Anticompetitive
   20   Plan, it significantly sets back those very interests for which the Sign Ban was
   21   allegedly adopted. If static Billboards are a danger to traffic safety and an aesthetic
   22   detriment, digital Billboards cause far greater harm. However, Plaintiffs are
   23   informed and believe and thereon allege that the Sign Ban was not adopted to
   24

   25
        12
   26      (Summit Media LLC v. City of Los Angeles (2012) 211 Cal.App.4th 921, 150 Cal.Rptr.3d 574
        [an agreement that allowed certain favored companies to circumvent the City’s ban on digital
   27   billboards was ultra vires].) It is highly noteworthy that one of the parties entering into the
        agreement with the City that was ultimately found invalid was CBS Outdoor, Inc., the
   28   predecessor to Outfront.

                                                      33                                  COMPLAINT
Case 2:20-cv-07036-SVW-AGR Document 1-1 Filed 08/05/20 Page 35 of 55 Page ID #:40



    1   advance the government interests claimed by the City but instead for the primary
    2   purpose of furthering the Anticompetitive Plan.
    3          108. The advent of new digital technology has also called into doubt the
    4   reasoning of the Supreme Court from 1980 in Metromedia, Inc. v. City of San
    5   Diego, when it stated that it was reasonable for a municipality to conclude that on-
    6   site signs, with their static, non-changing message, could be seen as more of a
    7   distraction to drivers than traditional Billboards that changed messages monthly.
    8   This 40-year-old analysis does not logically justify allowing the City to continue to
    9   ban static off-site Billboards as a traffic hazard while allowing numerous on-site
   10   digital signs that change messages every eight seconds.
   11

   12   L. The City Has Destroyed an Entire Medium of Communication by Creating
   13   Artificial and Unreasonable Barriers to Entry
   14          109. By artificially increasing the cost of entry into outdoor adverting, the
   15   City has furthered the Anticompetitive Plan and destroyed an entire medium of
   16   communication without leaving ample alternative channels.
   17          110. Plaintiffs are informed and believe and thereon allege that the
   18   exceptions from the Sign Ban, for legally adopted specific plans, supplemental use
   19   districts, approved development agreements and relocation agreements, require the
   20   expenditure of very large sums of money having nothing to do with Billboards or
   21   the harms that allegedly flow from their operation. Plaintiffs are further informed
   22   and believe and thereon allege that the imposition of such costs as a prerequisite to
   23   constructing and operating a Billboard advances no legitimate governmental interest
   24   but is designed solely to further the Anticompetitive Plan to favor the Predatory
   25   Companies and make it impossible for anyone to challenge their monopoly or near
   26   monopoly position.
   27          111. The creation of these illegitimate financial barriers has had the desired
   28   effect of barring anyone other than the major outdoor advertising companies and
                                                 34                               COMPLAINT
Case 2:20-cv-07036-SVW-AGR Document 1-1 Filed 08/05/20 Page 36 of 55 Page ID #:41



    1   developers, including the Predatory Companies, from operating Billboards.13 This
    2   action by the City has:
    3          a. Furthered the Anticompetitive Plan;
    4          b. Enabled the Predatory Companies to quash competition and maintain their
    5          monopolistic market share;
    6          c. Allowed the Predatory Companies to keep land rents artificially low;
    7          d. Permitted the Predatory Companies to keep ad rates artificially high;
    8          e. Ensured that Billboards remain almost entirely in the hands of those
    9          outdoor advertising companies, including the Predatory Companies, which
   10          have a vested interest in self-censorship to avoid offending the City
   11          Council;14 and
   12

   13   13
          It would be as if the City had a favorite newspaper and sought to protect its exclusive rights by
        requiring anyone else wishing to establish a competing publication not to buy printing presses and
   14   pay for a business license but instead to construct a ten story building and donate a park. Such
        unrelated and artificial barriers to entry would serve no legitimate state interest but operate to
   15   impermissibly prevent the free exercise of First Amendment rights and preserve a monopoly for a
        favored speaker.
   16

   17   14
          The United States Supreme Court has repeatedly expressed concern over the tendency of
        speakers to engage in self-censorship when subjected to the unbridled discretion of government
   18   officials to allow or deny the right to speak:
   19           Self-censorship is immune to an "as applied" challenge, for it derives from the individual's
                own actions, not an abuse of government power. It is not difficult to visualize a newspaper
   20           that relies to a substantial degree on single issue sales feeling significant pressure to
                endorse the incumbent mayor in an upcoming election, or to refrain from criticizing him,
   21           in order to receive a favorable and speedy disposition on its permit application. Only
                standards limiting the licensor's discretion will eliminate this danger by adding an
   22           element of certainty fatal to self-censorship. Cf. Hoffman Estates v. Flipside, Hoffman
                Estates, Inc., 455 U.S. 489, 498, 71 L. Ed. 2d 362, 102 S. Ct. 1186 (1982) (vagueness
   23           doctrine). And only a facial challenge can effectively test the statute for these standards.
                [Emphasis added.]
   24   (Lakewood v. Plain Dealer Pub. Co. (1988) 486 U.S. 750, 757-758 [108 S.Ct. 2138, 2144, 100
        L.Ed.2d 771, 783].)
   25
        The courts have also held that the existence of unbridled discretion makes it impossible to
   26   determine whether decisions by the licensing authority are content based and unconstitutional.
        (Preferred Communications, Inc. v. Los Angeles (9th Cir. 1985) 754 F.2d 1396, 1406.) In the
   27   instant case, the City has created a situation where building inspectors are called upon to decide
        whether a given message is permissible without any objective criteria to allow meaningful
   28   judicial review of their decisions.

                                                       35                                   COMPLAINT
Case 2:20-cv-07036-SVW-AGR Document 1-1 Filed 08/05/20 Page 37 of 55 Page ID #:42



    1          f. Destroyed an entire medium of communication without leaving ample
    2          alternative means of communication in violation of the First Amendment.
    3          (Frisby v. Schultz (1988) 487 U.S. 474, 481, 108 S.Ct. 2495, 2500-2501, 101
    4          L.Ed.2d 420, 429.)
    5          112. The United States Supreme Court has held that a law restricting speech
    6   is constitutionally invalid under the First Amendment if it destroys a medium of
    7   communication without leaving sufficient alternate channels. (Virginia State Bd. of
    8   Pharmacy v. Virginia Citizens Consumer Council (1976) 425 U.S. 748, 771 [96
    9   S.Ct. 1817, 1830, 48 L.Ed.2d 346, 363-364].)
   10          113. The Court has further acknowledged the unconstitutionality of singling
   11   out a medium of communication for imposition of unique financial burdens such as
   12   special taxes not applicable to other businesses. (See, e. g., Minneapolis Star &
   13   Tribune Co. v. Minn. Comm'r of Revenue (1983) 460 U.S. 575, 585, 103 S.Ct. 1365,
   14   1371-1372, 75 L.Ed.2d 295, 304-305.) Plaintiffs are informed and believe and
   15   thereon allege that each of the discretionary exemptions from the Sign Ban imposes
   16   financial burdens on would be speakers that are unrelated to Billboards and which
   17   are not of general application to all businesses and taxpayers.
   18

   19                                III. CAUSES OF ACTION
   20
   21                               FIRST CAUSE OF ACTION
   22        (Deprivation of Civil Rights Against All Defendants – First Amendment)
   23
               114. Plaintiffs refer to and incorporate herein by reference as through fully
   24
        set forth paragraphs 1 through 113 of this Complaint.
   25
               115. An actual and justiciable controversy has arisen and now exists
   26
        between Plaintiffs and Defendants concerning the constitutionality of the City's Sign
   27
        Ordinance and Sign Ban.
   28

                                                  36                             COMPLAINT
Case 2:20-cv-07036-SVW-AGR Document 1-1 Filed 08/05/20 Page 38 of 55 Page ID #:43



    1          116. Plaintiffs contend that the Sign Ordinance and Sign Ban are
    2   unconstitutional on their face and as applied because they abridge rights secured by
    3   the First and Fourteenth Amendments to the United States Constitution and Article
    4   I, Sections 2 and 7, of the California Constitution as described in detail above.
    5          117. Plaintiffs are informed and believe and thereon allege that Defendants
    6   dispute these contentions.
    7          118. Plaintiffs desire a judicial determination of the rights, duties and
    8   obligations of the parties concerning the Sign Ordinance and Sign Ban and
    9   specifically a declaration that they are unconstitutional facially and as applied under
   10   the First Amendment of the United States Constitution and Article I, Sections
   11   2 and 7, of the California Constitution.
   12          119. A judicial declaration is necessary and appropriate at this time in order
   13   that Plaintiffs and Defendants may ascertain their rights, duties and obligations with
   14   respect to the Sign Ordinance and Sign Ban.
   15          120. Plaintiffs are also informed and believe and thereon allege that, unless
   16   and until restrained by this court, Defendants will continue to enforce and threaten
   17   to enforce the Sign Ordinance and the Sign Ban against Plaintiffs and continue to
   18   deprive Plaintiffs of civil rights secured by the United States and California
   19   Constitutions.
   20          121. If Defendants are allowed to continue to do so, Plaintiffs will be
   21
        irreparably injured in that they will be deprived of constitutional rights guaranteed
   22
        under the Federal and State Constitutions, will suffer substantial loss of rents, profits
   23
        and goodwill, the nature and extent of which will be extremely difficult or
   24
        impossible to ascertain, and will be subjected to a multiplicity of suits. Permitting
   25
        Defendants to continue to enforce the Sign Ordinance and Sign Ban will also have a
   26
        chilling effect on the exercise of First Amendment rights by Plaintiff and members
   27
        of the public.
   28

                                                   37                              COMPLAINT
Case 2:20-cv-07036-SVW-AGR Document 1-1 Filed 08/05/20 Page 39 of 55 Page ID #:44



    1          122. In engaging in the acts alleged above, Defendants have deprived
    2   Plaintiffs of rights, privileges and immunities secured by the Constitution of the
    3   United States, specifically, the right to freedom of speech, due process and equal
    4   protection of the laws as secured by the First, Fifth and Fourteenth Amendments to
    5   the United States Constitution. Such actions by Defendants, and each of them, have
    6   furthermore deprived Plaintiffs of rights, privileges and immunities secured by the
    7   Constitution of the State of California, specifically Article I §§ 2, 7 and 19.
    8          123. In performing these acts, Defendants have acted and conspired to act
    9   under color of statute, ordinance, regulation and policy of the City, which are
   10   outside their constitutional authority and contrary to law.
   11          124. As a direct and proximate result of the aforementioned conduct of
   12   Defendants, and each of them, Plaintiffs have been and are being deprived and
   13   threatened with the deprivation of rents, profits and goodwill from Billboards and
   14   ground leases as described in detail above and has therefore been damaged in an
   15   amount according to proof at trial.
   16          125. Plaintiffs have no adequate remedy at law to prevent or redress this
   17   irreparable injury.
   18          126. If Plaintiffs are successful in this action they are entitled to recover
   19   reasonable attorneys’ fee pursuant to 42 USC § 1988. Additionally, a victory for
   20   Plaintiffs will confer a significant benefit on the general public or a large class of
   21
        people, and Plaintiffs are entitled to an award of attorneys’ fees pursuant to Code of
   22
        Civil Procedure section 1021.5.
   23

   24                              SECOND CAUSE OF ACTION
   25         (Deprivation of Civil Rights Against All Defendants – Fifth Amendment)
   26          127. Plaintiffs refer to and incorporate herein by reference as through fully
   27   set forth paragraphs 1 through 126 of this Complaint.
   28

                                                   38                               COMPLAINT
Case 2:20-cv-07036-SVW-AGR Document 1-1 Filed 08/05/20 Page 40 of 55 Page ID #:45



    1          128. An actual and justiciable controversy has arisen and now exists
    2   between Plaintiffs and Defendants concerning the constitutionality of the Sign
    3   Ordinance and Sign Ban.
    4          129. Plaintiffs contend that the Sign Ordinance and Sign Ban are
    5   unconstitutional facially and as applied because they abridge rights secured by the
    6   Fifth Amendment to the United States Constitution and Article I, Section 19, of the
    7   California Constitution as described in detail above.
    8          130. Plaintiffs are informed and believe and thereon alleges that Defendants
    9   dispute these contentions.
   10          131. Plaintiffs desire a judicial determination of the rights, duties and
   11   obligations of the parties concerning the Sign Ordinance and Sign Ban and
   12   specifically a declaration that they are unconstitutional facially and as applied under
   13   the Fifth Amendment to the United States Constitution and Article I, Section 19, of
   14   the California Constitution
   15          132. A judicial declaration is necessary and appropriate at this time in order
   16   that Plaintiffs and Defendants may ascertain their rights, duties and obligations with
   17   respect to the Sign Ordinance and Sign Ban.
   18          133. Plaintiffs are also informed and believe and thereon allege that, unless
   19   and until restrained by this court, Defendants will continue to enforce and threaten
   20   to enforce the Sign Ordinance and the Sign Ban against Plaintiffs and continue to
   21
        deprive Plaintiffs of civil rights secured by the United States and California
   22
        Constitutions.
   23
               134. If Defendants are allowed to continue to do so, Plaintiffs will be
   24
        irreparably injured in that they will be deprived of constitutional rights guaranteed
   25
        under the Federal and State Constitutions, will suffer substantial loss of rents, profits
   26
        and goodwill, the nature and extent of which will be extremely difficult or
   27
        impossible to ascertain, and will be subjected to a multiplicity of suits. Permitting
   28

                                                  39                               COMPLAINT
Case 2:20-cv-07036-SVW-AGR Document 1-1 Filed 08/05/20 Page 41 of 55 Page ID #:46



    1   Defendants to continue to enforce the Sign Ordinance and Sign Ban will also have a
    2   chilling effect on the exercise of First Amendment rights by Plaintiff and members
    3   of the public.
    4          135. In engaging in the acts alleged above, Defendants have deprived
    5   Plaintiffs of rights, privileges and immunities secured by the Constitution of the
    6   United States, specifically, the right to freedom of speech, due process and equal
    7   protection of the laws as secured by the First, Fifth and Fourteenth Amendments to
    8   the United States Constitution. Such actions by Defendants, and each of them, have
    9   furthermore deprived Plaintiffs of rights, privileges and immunities secured by the
   10   Constitution of the State of California, specifically Article I §§ 2, 7 and 19.
   11          136. In performing these acts, Defendants have acted and conspired to act
   12   under color of statute, ordinance, regulation and policy of the City, which are
   13   outside their constitutional authority and contrary to law.
   14          137. As a direct and proximate result of the aforementioned conduct of
   15   Defendants, and each of them, Plaintiffs have been and are being deprived and
   16   threatened with the deprivation of rents, profits and goodwill from Billboards and
   17   ground leases as described in detail above and has therefore been damaged in an
   18   amount according to proof at trial.
   19          138. Plaintiffs have no adequate remedy at law to prevent or redress this
   20   irreparable injury.
   21
               139. If Plaintiffs are successful in this action they are entitled to recover
   22
        reasonable attorneys’ fee pursuant to 42 USC § 1988. Additionally, a victory for
   23
        Plaintiffs will confer a significant benefit on the general public or a large class of
   24
        people, and Plaintiffs are entitled to an award of attorneys’ fees pursuant to Code of
   25
        Civil Procedure section 1021.5.
   26
   27

   28

                                                   40                               COMPLAINT
Case 2:20-cv-07036-SVW-AGR Document 1-1 Filed 08/05/20 Page 42 of 55 Page ID #:47



    1                              THIRD CLAIM FOR RELIEF
    2                 (Inverse Condemnation Against the City of Los Angeles)
    3          140. Plaintiffs refer to and incorporates herein by reference as though fully
    4   set forth paragraphs 1 through 139 of this Complaint.
    5          141. The Constitutions of the United States and the State of California
    6   guarantee that private property shall not be taken by a public entity without just
    7   compensation.
    8          142. Condemnation is the legal process by which a public entity exercises
    9   its right of eminent domain. Inverse condemnation is a cause of action against a
   10   public entity to recover the true value of property which has been taken in fact by
   11   the public entity, even though no formal exercise of the power of eminent domain
   12   has been attempted.
   13          143. As a direct and proximate result of the enactment and enforcement of
   14   the Sign ordinance and the Sign Ban and the City’s actions in furthering the
   15   Anticompetitive Plan, including, but not limited to its issuance of demolition
   16   permits without property owner concert and willingness to allow the “relocation” of
   17   demolished Billboards without compensation to property owners, it has destroyed
   18   the value of thousands of parcels of real property owned by Plaintiffs, including, but
   19   not limited to CALPRO and its members.
   20          144.     The City’s acts constituted a taking and appropriation of private
   21   property without payment of just compensation in violation of the Constitutions of
   22   the United States and the State of California.
   23          145. An actual and justiciable controversy has arisen and now exists
   24   between Plaintiffs and the City concerning the constitutionality of its actions as
   25
        described above, including its uncompensated taking of Plaintiffs’ property and
   26
        actions to further the Anticompetitive Plan.
   27

   28

                                                  41                              COMPLAINT
Case 2:20-cv-07036-SVW-AGR Document 1-1 Filed 08/05/20 Page 43 of 55 Page ID #:48



    1          146. Plaintiffs contend that the City’s actions are unconstitutional because
    2   they abridge rights secured by the Fifth Amendment to the United States
    3   Constitution and Article I, Section 19, of the California Constitution as described in
    4   detail above.
    5          147. Plaintiffs are informed and believe and thereon alleges that Defendants
    6   dispute these contentions.
    7          148. Plaintiffs desire a judicial determination of the rights, duties and
    8   obligations of the parties concerning the Sign Ordinance and Sign Ban and
    9   specifically a declaration that they are unconstitutional facially and as applied under
   10   the Fifth Amendment to the United States Constitution and Article I, Section 19, of
   11   the California Constitution
   12          149. A judicial declaration is necessary and appropriate at this time in order
   13   that Plaintiffs and Defendants may ascertain their rights, duties and obligations with
   14   respect to the Sign Ordinance and Sign Ban.
   15          150. Plaintiffs are also informed and believe and thereon allege that, unless
   16   and until restrained by this court, Defendants will continue to enforce and threaten
   17   to enforce the Sign Ordinance and the Sign Ban and continue to further the
   18   Anticompetitive Plan against Plaintiffs and continue to deprive Plaintiffs of civil
   19   rights secured by the United States and California Constitutions.
   20          151. If Defendants are allowed to continue to do so, Plaintiffs will be
   21
        irreparably injured in that they will be deprived of constitutional rights guaranteed
   22
        under the Federal and State Constitutions, will suffer substantial loss of rents, profits
   23
        and goodwill, the nature and extent of which will be extremely difficult or
   24
        impossible to ascertain, and will be subjected to a multiplicity of suits.
   25
               152. As a direct and proximate result of the aforementioned conduct of
   26
        Defendants, and each of them, Plaintiffs have been and are being deprived and
   27
        threatened with the deprivation of rents, profits and goodwill from Billboards and
   28

                                                  42                                 COMPLAINT
Case 2:20-cv-07036-SVW-AGR Document 1-1 Filed 08/05/20 Page 44 of 55 Page ID #:49



    1   ground leases as described in detail above and has therefore been damaged in an
    2   amount according to proof at trial.
    3          153. Plaintiffs have no adequate remedy at law to prevent or redress this
    4   irreparable injury.
    5          154. If Plaintiffs are successful in this action a significant benefit will be
    6   conferred on the general public or a large class of people, and Plaintiffs are entitled
    7   to an award of attorneys’ fees pursuant to Code of Civil Procedure section 1021.5.
    8

    9                             FOURTH CLAIM FOR RELIEF
   10                (Violation of Sherman Antitrust Act Against All Defendants
   11                                 Except the City of Los Angles)
   12          155. Plaintiffs refer to and incorporates herein by reference as though fully
   13   set forth paragraphs 1 through 154 of this Complaint.
   14          156. As described in greater detail above, the Predatory Companies entered
   15   into the Anticompetitive Plan, a conspiracy to monopolize and control the outdoor
   16   adverting market in Los Angeles, including but not limited to keeping ad rates
   17   artificially high and land rents artificially low.
   18          157. Plaintiffs are informed and believe and thereon allege that the
   19   Anticompetitive Plan violates the Sherman Antitrust Act (15 U.S.C. §§ 1 and 2) by
   20   allowing the Predatory Companies not only to fix prices for advertising and for
   21   ground leases but also to divide the Los Angeles outdoor advertising market among
   22   themselves and keep out competitors.
   23
               158. Plaintiffs are further informed and believe and thereon allege that the
   24
        Anticompetitive Plan and the conduct described above also violates the Sherman
   25
        Antitrust Act under a “rule of reason” analysis, because it amounts to an
   26
        unreasonable restraint of trade. Such restraint of trade includes, but is not limited to:
   27
        a. preventing local property owners from realizing fair market value for ground
   28

                                                    43                              COMPLAINT
Case 2:20-cv-07036-SVW-AGR Document 1-1 Filed 08/05/20 Page 45 of 55 Page ID #:50



    1   leases; b. keeping other smaller outdoor adverting companies from entering the Los
    2   Angeles market; and c. artificially inflating adverting rates.
    3          159. Because the Predatory Companies generally operate Billboards across
    4   the United States and most of the adverting carried on their Billboards is for national
    5   brands and products, the Anticompetitive Plan has had an impact on commerce in
    6   California and throughout the United States. Plaintiffs are further informed and
    7   believes and thereon alleges that the Predatory Companies employ near identical
    8   anticompetitive tactic is most or all of the jurisdictions in which they operate across
    9   the United States, having a significant impact on interstate commerce.
   10          160. Plaintiffs have been injured in their business and property as a result of
   11   the illegal conduct of the Predatory Companies, including the Anticompetitive Plan,
   12   for which they seek damages in an amount to be determined at trial, including treble
   13   damages and prejudgment interest.
   14          161. Plaintiffs are informed and believe and thereon allege that the
   15   wrongful conduct of the Predatory Companies will continue unless enjoined and
   16   restrained by the court.
   17          162. Plaintiffs have no adequate remedy at law to prevent or redress this
   18   irreparable injury.
   19          163. Plaintiffs are entitled to reasonable attorney's fees and court costs
   20   pursuant to the Sherman Antitrust Act. Additionally, a victory for Plaintiffs will
   21
        confer a significant benefit on the general public or a large class of people, and
   22
        Plaintiffs are entitled to an award of attorneys’ fees pursuant to Code of Civil
   23
        Procedure section 1021.5.
   24

   25

   26
   27

   28

                                                  44                              COMPLAINT
Case 2:20-cv-07036-SVW-AGR Document 1-1 Filed 08/05/20 Page 46 of 55 Page ID #:51



    1                               FIFTH CLAIM FOR RELIEF
    2                    (Violation of Cartwright Act Against All Defendants
    3                                Except the City of Los Angles)
    4          164. Plaintiffs refer to and incorporate herein by reference as though fully
    5   set forth paragraphs 1 through 163 of this Complaint.
    6          165. As described in greater detail above, the Predatory Companies entered
    7   into the Anticompetitive Plan, a conspiracy to monopolize and control the outdoor
    8   adverting market in Los Angeles, including but not limited to keeping ad rates
    9   artificially high and land rents artificially low.
   10          166. Plaintiffs are informed and believe and thereon allege that the
   11   Anticompetitive Plan has allowed the Predatory Companies to unlawfully fix prices
   12   and to divide the Los Angeles outdoor advertising market among themselves and
   13   keep out competitors.
   14          167. Plaintiffs are further informed and believe and thereon alleges that the
   15   Anticompetitive Plan constitutes an unreasonable restraint of trade or commerce
   16   throughout California and the rest of the United States in violation of the Cartwright
   17   Act. (Business and Professions Code sections 16700-16770.)
   18          168. Plaintiffs have been injured in their business and property as a result of
   19   the illegal conduct of the Predatory Companies for which it seeks damages in an
   20   amount to be determined at trial, including treble damages and prejudgment interest.
   21          169. Plaintiffs are informed and believe and thereon allege that the
   22
        wrongful conduct of the Predatory Companies, and each of them, will continue
   23
        unless enjoined and retained by the court.
   24
               170. Plaintiffs have no adequate remedy at law to prevent or redress this
   25
        irreparable injury.
   26
               171. If Plaintiffs prevail in this action, they will be entitled to recover their
   27
        attorneys’ fees under the Cartwright Act. Additionally, a victory for Plaintiffs will
   28

                                                    45                              COMPLAINT
Case 2:20-cv-07036-SVW-AGR Document 1-1 Filed 08/05/20 Page 47 of 55 Page ID #:52



    1   confer a significant benefit on the general public or a large class of people, and
    2   Plaintiffs are also entitled to an award of attorneys’ fees pursuant to Code of Civil
    3   Procedure section 1021.5.
    4

    5                               SIXTH CLAIM FOR RELIEF
    6         (Violation of California Unfair Competition Law Against All Defendants
    7                               Except the City of Los Angeles)
    8          172. Plaintiffs refer to and incorporate herein by reference as though fully
    9   set forth paragraphs 1 through 171 of this Complaint.
   10          173. The Anticompetitive Plan and other wrongful conduct described in
   11   detail above constitutes unlawful, fraudulent and unfair business acts and practices
   12   within the meaning of the California Unfair Competition Law, Business and
   13   Professions Code section 17200, et seq (the “UCL”). Such conduct is in part
   14   unlawful, fraudulent and unfair because it violates, inter alia, the United States and
   15   California Constitutions and the Sherman Antitrust Act and the Cartwright Act.
   16          174. Plaintiffs are further informed and believe and thereon allege that such
   17   conduct by Defendants is representative of their business practices not only in Los
   18   Angeles but in other municipalities throughout the country, in that they regularly
   19   take unlawful, fraudulent or unfair steps to prevent local property owners from
   20   obtaining fair market value for ground leases and to stifle all competition to keep ad
   21   rates artificially high.
   22          175. Plaintiffs have suffered injury in fact and lost money and property as a
   23   result the violations of law and other wrongful conduct of the Predatory Companies.
   24   As a result of such conduct by the Predatory Companies, they have wrongfully
   25   obtained ground lease rental income which rightfully belongs to Plaintiffs in an
   26   amount according to proof at trial. As a result, Plaintiffs are entitled to restitution of
   27
        all such amounts wrongfully obtained by the Predatory Companies.
   28

                                                   46                                COMPLAINT
Case 2:20-cv-07036-SVW-AGR Document 1-1 Filed 08/05/20 Page 48 of 55 Page ID #:53



    1           176. Unless and until enjoined and restrained by order of this Court, the
    2   wrongful conduct of the Predatory Companies, as described above, will cause great
    3   and irreparable injury to Plaintiffs. Furthermore, Plaintiffs will be deprived of civil
    4   rights guaranteed by the United States and California Constitutions.15
    5           177. ‘“Under the UCL, any person or entity that has engaged, is engaging
    6   or threatens to engage “in unfair competition may be enjoined in any court of
    7   competent jurisdiction.” (Bus. & Prof. Code, §§ 17201, 17203.) “Unfair
    8   competition” includes “any unlawful, unfair or fraudulent business act or
    9   practice….”’ (Bus. & Prof. Code, § 17200.) Jenkins v. JPMorgan Chase Bank, N.A.
   10   (Cal. App. 4th Dist. 2013), 216 Cal. App. 4th 497, 520.
   11           178. Plaintiffs have no adequate remedy at law for the injuries currently
   12   being suffered in that it will be difficult for Plaintiff to determine the precise amount
   13   of damage which it will suffer if Defendants' conduct is not restrained.
   14           179. If Plaintiffs prevail in the action, a significant benefit will be conferred
   15   on the general public or a large class of people, and Plaintiffs are entitled to an
   16   award of attorneys’ fees pursuant to Code of Civil Procedure section 1021.5.
   17

   18                               SEVENTH CLAIM FOR RELIEF
   19                       (Writ of Mandate Against the City of Los Angeles)
   20
   21
                 180. Plaintiffs refer to and incorporate herein by reference as though fully

   22
        set forth paragraphs 1 through 179 of this Complaint.

   23            181. As described above, the LAMC prohibits the issuance of permits by

   24 the Department of Building and Safety without consent by the property owner of

   25 record. However, in the case of Billboards, City employees are issuing such permits

   26    15
            When a violation of constitutionally protected rights is shown irreparable injury is presumed.
   27    Mitchell v. Cuomo (2nd Cir. 1984) 748 F.2d 804, 806. Furthermore, the presumption of
         irreparable injury is particularly strong in cases involving infringement on First Amendment
   28    rights. (Elrod v. Burns (1976) 427 U.S. 347, 96 S.Ct. 2673, 49 L.Ed.2d 547.)

                                                        47                                   COMPLAINT
Case 2:20-cv-07036-SVW-AGR Document 1-1 Filed 08/05/20 Page 49 of 55 Page ID #:54



    1 without the knowledge and consent of the owner of the real property.

    2           182. In connection with the First Karraa Billboard, the City issued a permit
    3 to allow Outfront to dismantle portions of the First Karraa Billboard, though they

    4 were made aware that the owner of record of the Service Station Property had not

    5 consented.

    6           183. As further described above, the LAMC provides that legal, non-
    7 conforming Billboards may be altered, repaired or rehabilitated so long as the cost of

    8 the work does not exceed 50 percent of the replacement cost of both the sign and sign

    9 support structure and there is no increase in height or size.

   10           184. VMG and Stephens caused to be submitted to the City on behalf of
   11 Karraa an application to alter, repair or rehabilitate the First Karraa Billboard by

   12 replacing the above ground portions that had been dismantled by Outfront.

   13           185. The cost of the work for which VMG and Stephens sought a permit
   14 was less than “50 percent of the replacement cost of both the sign and sign support

   15 structure” and the application did not seek to change its permitted size and height.

   16           186. Though VMG and Stephens were entitled to a permit pursuant to
   17 LAMC section 91.6216.4., the application was wrongfully denied.

   18           187. This denial was a violation of the mandatory duty of City employees
   19 to issue building permits that are in full compliance with the LAMC, which does not

   20 allow City employees to enforce its provisions in an unequal or selective manner.
   21
                188. The foregoing conduct of Defendants, an each of them, constitutes a
   22
        gross abuse of authority and breach of a mandatory duty which operates to damage
   23
        Plaintiffs, including Karraa, Stephens and VMG. Said failure and refusal is
   24
        furthermore arbitrary, capricious and contrary to law.
   25
                189. Plaintiffs are entitled to a preemptory Writ of Mandate commanding
   26
        the City to cease violating mandatory duties and obligations under the LAMC by
   27
        issuing permits relation to Billboards without proof of consent by the property owner
   28

                                                  48                              COMPLAINT
Case 2:20-cv-07036-SVW-AGR Document 1-1 Filed 08/05/20 Page 50 of 55 Page ID #:55



    1 of record. Such Writ should include but not be limited to the Second Karraa

    2 Billboard.

    3          190. Plaintiffs are furthermore entitled to a preemptory Writ of Mandate
    4 commanding the City to cease violating mandatory duties and obligations under the

    5 LAMC and issue a permit under LAMC section 91.6216.4. to allow “Alterations,

    6 Repairs or Rehabilitation” of the First Karraa Billboard so long as the work does not

    7 exceed “50 percent of the replacement cost of both the sign and sign support

    8 structure.”

    9          191. Plaintiffs have no other plain, speedy and adequate remedy in the
   10 ordinary course of law.

   11
                                          IV. PRAYER
   12

   13
              WHEREFORE, Plaintiffs pray for judgment as follows:
   14

   15                             FIRST CLAIM FOR RELIEF
   16         1.     For a judicial declaration and decree that the Sign Ordinance and Sign
   17   Ban are unconstitutional facially and as applied to Plaintiffs because they violate
   18   rights secured by the First, Fifth and Fourteenth Amendments to the United States
   19   Constitution and Article I, Sections 2 and 7, of the California Constitution.
   20         2.     For a preliminary and permanent injunction restraining Defendants and
   21   their agents, employees, representatives, successors, and all persons acting in
   22   concert with them, or any of them, from: a. enforcing the provisions of the City's
   23   Sign Ordinance and Sign Ban; b. issuing any permits relating to construction or
   24   demolition of any Billboard without property owner consent; c. from improperly
   25
        using its Police Power to condition the construction of any Billboard on an
   26
        applicant providing money, property or other resources to the City having no
   27
        reasonable nexus to any alleged public burden allegedly caused by such Billboard
   28

                                                 49                              COMPLAINT
Case 2:20-cv-07036-SVW-AGR Document 1-1 Filed 08/05/20 Page 51 of 55 Page ID #:56



    1   d. from interfering with or attempting to interfere with Plaintiffs’ use and
    2   enjoyment of their Billboards.
    3         3.     For general damages in an amount according to proof at trial.
    4         4.     For reasonable attorneys’ fees pursuant to 42 USC § 1988 and Code of
    5   Civil Procedure section 1021.5.
    6

    7                            SECOND CLAIM FOR RELIEF
    8         1.     For a judicial declaration and decree that the Sign Ordinance and Sign
    9   Ban are unconstitutional facially and as applied to Plaintiffs because they violate
   10   rights secured by the Fifth Amendment to the United States Constitution and
   11   Article I, Section 19, of the California Constitution.
   12         2.     For a judicial declaration and decree that permits for Billboards that
   13   have become legal, nonconforming uses of property belong wholly or partially to
   14   the owner of the real property to which they relate and cannot be unilaterally
   15   canceled without property owner consent and government compensation.
   16         3.     For a preliminary and permanent injunction restraining Defendants and
   17   their agents, employees, representatives, successors, and all persons acting in
   18   concert with them, or any of them, from: a. enforcing the provisions of the City's
   19   Sign Ordinance and Sign Ban; b. issuing any permits relating to construction or
   20   demolition of any Billboard without property owner consent; c. from improperly
   21   using its Police Power to condition the construction of any Billboard on an
   22
        applicant providing money, property or other resources to the City having no
   23
        reasonable nexus to any alleged public burden allegedly caused by such Billboard
   24
        d. from interfering with or attempting to interfere with Plaintiffs’ use and
   25
        enjoyment of their Billboards.
   26
              4.     For general damages in an amount according to proof at trial.
   27

   28

                                                  50                              COMPLAINT
Case 2:20-cv-07036-SVW-AGR Document 1-1 Filed 08/05/20 Page 52 of 55 Page ID #:57



    1         5.     For reasonable attorneys’ fees pursuant to 42 USC § 1988 and Code of
    2   Civil Procedure section 1021.5.
    3                             THIRD CLAIM FOR RELIEF
    4         1.     For a judicial declaration and decree that permits for Billboards that
    5   have become legal, nonconforming uses of property belong wholly or partially to
    6   the owner of the real property to which they relate and cannot be unilaterally
    7   canceled without property owner consent and government compensation.
    8         2.     For a preliminary and permanent injunction restraining Defendants and
    9   their agents, employees, representatives, successors, and all persons acting in
   10   concert with them, or any of them, from: a. enforcing the provisions of the City's
   11   Sign Ordinance and Sign Ban; b. issuing any permits relating to construction or
   12   demolition of any Billboard without property owner consent; c. from improperly
   13   using its Police Power to condition the construction of any Billboard on an
   14   applicant providing money, property or other resources to the City having no
   15   reasonable nexus to any alleged public burden allegedly caused by such Billboard
   16   d. from interfering with or attempting to interfere with Plaintiffs’ use and
   17   enjoyment of their Billboards.
   18         3.     For general damages in an amount according to proof at trial.
   19         4.     For reasonable attorneys’ fees pursuant to Code of Civil Procedure
   20   section 1021.5.
   21                            FOURTH CLAIM FOR RELIEF
   22         1.     For general damages in an amount according to proof at trial.
   23
              2.     For treble damages.
   24
              3.     For reasonable attorneys’ fees pursuant to the Sherman Antitrust Act
   25
        and Code of Civil Procedure section 1021.5.
   26
   27

   28

                                                 51                               COMPLAINT
Case 2:20-cv-07036-SVW-AGR Document 1-1 Filed 08/05/20 Page 53 of 55 Page ID #:58



    1                              FIFTH CLAIM FOR RELIEF
    2         1.     For general damages in an amount according to proof at trial.
    3         2.     For treble damages.
    4         3.     For reasonable attorneys’ fees pursuant to the Cartwright Act and
    5   Code of Civil Procedure section 1021.5.
    6
                                   SIXTH CLAIM FOR RELIEF
    7
              1.     For an injunction restraining Defendants and their agents, officers and
    8
        employees, and all persons acting in concert with them, from continuing to
    9
        implement the Anticompetitive plan, including, but not limited to: a. suppressing
   10
        ground lease rents below fair market value; b. artificially inflating ad rates; c.
   11
        demolishing legal, nonconforming Billboards; d. committing waste on sites they
   12
        lease for Billboards by demolishing legal, nonconforming structure without
   13
        property consent; and e. threatening to demolish legal, nonconforming Billboards as
   14
        a means of forcing property owners to accept less than fair market rent and prevent
   15
        competition from other outdoor advertising companies.
   16
              2.     Restitution to Plaintiffs of all monies that Defendants avoided paying
   17
        in ground lease rent by their unfair, illegal and fraudulent efforts to depress such
   18
        rents below actual fair market value.
   19
              3.     For an award of reasonable attorneys’ fees pursuant to Code of Civil
   20
        Procedure section 1021.5.
   21
                                SEVENTH CLAIM FOR RELIEF
   22
              1.     That the Court issue a preemptory Writ of Mandate commanding the
   23
        CITY to cease violating mandatory duties and obligations under the LAMC and the
   24
        Sign Ordinance and:
   25
              A. Cease issuing any permits relating to Billboards without proof of consent
   26
              by the owner of record of the real property to which the permit relates.
   27

   28

                                                  52                               COMPLAINT
Case 2:20-cv-07036-SVW-AGR Document 1-1 Filed 08/05/20 Page 54 of 55 Page ID #:59



    1         B. Issue a permit under LAMC section 91.6216.4. to allow “Alterations,
    2         Repairs or Rehabilitation” of the First Karraa Billboard so long as the work
    3         does not exceed “50 percent of the replacement cost of both the sign and sign
    4         support structure.”
    5                           ON ALL CLAIMS FOR RELIEF
    6         1.    For costs of suit herein; and
    7         2.    For such other and further relief as the court may deem just and
    8   proper.
    9

   10   Dated: April 24, 2020
   11

   12

   13

   14

   15                                         ___________________________
   16
                                              By: Raymond N. Haynes, Jr.
                                              California State Senate, 1994-2002
   17                                         California State Assembly, 1992-94, 2002-06

   18                                         Attorneys for Plaintiffs
                                              CALPRO, ANTON KARRAA
   19                                         RABADI SERVICE STATION, INC.,
                                              J. KEITH STEPHENS, AND
   20                                         VIRTUAL MEDIA GROUP, INC.

   21

   22

   23

   24

   25

   26
   27

   28

                                                53                             COMPLAINT
Case 2:20-cv-07036-SVW-AGR Document 1-1 Filed 08/05/20 Page 55 of 55 Page ID #:60



    1                           DEMAND FOR JURY TRIAL
    2

    3   TO DEFENDANTS:
    4         PLEASE TAKE NOTICE that Plaintiffs hereby demand a jury trial in this
    5   action.
    6   Dated: April 24, 2020
    7

    8

    9

   10

   11
                                           __________________________
   12                                      By: Raymond N. Haynes, Jr.
                                           California State Senate, 1994-2002
   13                                      California State Assembly, 1992-94, 2002-06
   14                                      Attorneys for Plaintiffs
                                           CALPRO, ANTON KARRAA
   15                                      RABADI SERVICE STATION, INC.,
                                           J. KEITH STEPHENS, AND
   16                                      VIRTUAL MEDIA GROUP, INC.
   17

   18

   19

   20
   21

   22

   23

   24

   25

   26
   27

   28

                                             54                           COMPLAINT
